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       Ms. L., et al.,

       Plaintiffs,                                     Case No. 18-cv-00428

       v.

       U.S. Immigration and Customs Enforcement, SETTLEMENT AGREEMENT
       et al.,

       Defendants.



   I. Definitions

      A. “Action” or “Ms. L.” The lawsuit captioned Ms. L., et al. v. U.S. Immigration and Customs
   Enforcement, et al., Case No. 18-cv-00428 (S.D. Cal.).

     B. “Class Counsel.” The American Civil Liberties Union Foundation (“ACLU”) and the
   ACLU of San Diego & Imperial Counties.

       C. “Defendants.” The Defendants in Ms. L.:1 U.S. Department of Homeland Security
   (“DHS”); U.S. Immigration and Customs Enforcement (“ICE”); U.S. Customs and Border
   Protection (“CBP”); U.S. Department of Health and Human Services (“HHS”); Office of Refugee
   Resettlement (“ORR”); Patrick J. Lechleitner, Deputy Director and Senior Official Performing the
   Duties of the Director of ICE; Jamison Matuszewski, ICE San Diego Field Office Director; Mark
   Paramo, Luis Casillas, and Joseph Suazo, ICE San Diego Assistant Field Office Directors for the
   Otay Mesa Detention Center; Mary De Anda-Ybarra, ICE El Paso Field Office Director; ICE El
   Paso Assistant Field Office Director for the West Texas Detention Facility; 2 Alejandro Mayorkas,
   Secretary of Homeland Security; Merrick Garland, Attorney General of the United States; Ur M.
   Jaddou, Director of U.S. Citizenship and Immigration Services (“USCIS”); Troy A. Miller, Senior
   Official Performing the Duties of the Commissioner of CBP; Sidney Aki, Director, San Diego
   Field Office, CBP; Hector A. Mancha Jr., Director, El Paso Field Office, CBP; Xavier Becerra,
   Secretary of the Department of Health and Human Services; Robin Dunn Marcos, Director of the
   Office of Refugee Resettlement.

       D. “Effective Date.” The Effective Date of this Settlement Agreement will be the date on
   which the Court enters a final approval order for the Settlement Agreement following notice to the
   class and a fairness hearing in accordance with Federal Rule of Civil Procedure 23.



   1
     The names of the successors for the originally named Defendants who were sued in their official
   capacities have been automatically substituted here pursuant to the operation of Fed. R. Civ. P.
   25(d).
   2
     ICE is not currently using the West Texas Detention Facility. Therefore, no AFOD is assigned
   to it.
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      E. “Family Reunification Task Force” or “FRTF.” The task force created by Executive
   Order 14011 (E.O. 14011), Establishment of Interagency Task Force on the Reunification of
   Families, on February 2, 2021.

      F. “Family Reunification Task Force Research Committee” or “FRTF Research
   Committee.” The research committee created within the Family Reunification Task Force to
   evaluate claims of class membership.

       G. “Final Registration Date.” The latest date that a Ms. L. Settlement Class member may
   register in together.gov or juntos.gov to be considered for relief under this Settlement Agreement,
   which is three years after the Effective Date.

       H. “Final Services Date.” The latest date that a Ms. L. Settlement Class member may begin
   receiving services under the Settlement Agreement, which is four years after the Effective Date.

       I. “Legal Guardian.” Legal Guardian means a person vested with legal custody of a child
   or vested with legal authority to act on or make decisions on the child’s behalf.

       J. “Ms. L. Settlement Class.” Individuals included in the class for purposes of this
   Settlement Agreement as defined in Section II below, and as determined in accordance with the
   procedures in Section III below.

       K. “Parties.” Plaintiffs (including the named Plaintiffs along with all members of the Ms. L.
   Settlement Class) and Defendants.

       L. “Qualifying Additional Family Member.” An additional family member who (1) is part
   of a Ms. L. Settlement Class member’s immediate household; or (2) can demonstrate one of the
   below familial relationships. If the Qualifying Additional Family Member is seeking return to the
   United States, the government will only pay for the return of Qualifying Additional Family
   Members who the FRTF Research Committee determines are necessary for reunification as
   described in Section IV.C.1. below.

         1. To be considered a member of the immediate household the additional family member
      must occupy the same housing unit as the Ms. L. Settlement Class member or show that they
      would occupy the same housing unit but for the detention of the Ms. L. Settlement Class
      member.

          2. Individuals who can show one of the below familial relationships with a Ms. L.
      Settlement Class member will be considered Qualifying Additional Family Members even if
      they cannot show that they are a member of the Ms. L. Settlement Class member’s immediate
      household:

              a. A spouse (including a common law spouse) of a Ms. L. Settlement Class member;

              b. An unmarried child under the age of 21 of a Ms. L. Settlement Class member;

              c. A separated child’s biological sibling who is unmarried and under the age of 21;


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              d. A separated child’s non-separated parent, stepparent, or legal guardian;

              e. A separated parent or legal guardian’s parent who is the primary caregiver for:

                i.   a minor child of a separated parent/legal guardian; or

               ii.   a separated child; and

              f. A separated child’s stepparent’s biological unmarried children under the age of 21.

      M. “Settlement Agreement.” This settlement agreement between the Parties in the Action.

       N. “Settlement Class Member Confirmation Date.” The date that the FRTF Research
   Committee accepts an individual as a Ms. L. Settlement Class member and sends the case to receive
   services under this Settlement Agreement. If an individual was determined to be a Ms. L.
   Settlement Class member prior to the Effective Date of this Settlement Agreement, then their
   “Settlement Class Member Confirmation Date” will be the Effective Date.

      O. “Termination Date.” Six years after the Effective Date.

      P. “Termination Date – Future Separations.” Eight years after the Effective Date.

       Q. “Unfiled Notice to Appear” or “Unfiled NTA.” A Notice to Appear (NTA), Form I-862,
   that has been issued by a DHS component but not filed and docketed with the Executive Office
   for Immigration Review (EOIR).

   II. The Ms. L. Settlement Class

   The “Ms. L. Settlement Class” consists of:

       A. Current Ms. L. Class Members: All members of the class certified by the Court and
   identified by the Parties as class members in the course of the litigation. See Order Granting in
   Part Plaintiffs’ Motion for Class Certification, ECF No. 82 (June 26, 2018); Order Granting
   Plaintiffs’ Motion to Modify Class Definition, ECF No. 386 (Mar. 8, 2019). Prior to Settlement
   Approval Defendants shall provide Plaintiffs with the list of class members who meet the
   definition of this paragraph.

       B. All Separated Children of Class Members: The Parties will amend the certified class to
   include in the Ms. L. Settlement Class any child who was separated from a parent or Legal
   Guardian who is either a Current Ms. L. Class Member or who becomes a member of the Ms. L.
   Settlement Class through the provisions of this Section.

       C. Certain Children of Parents Excluded from the Class: The Parties also agree that
    Defendants will provide some limited relief as detailed below in Section IV.B.2.a. to children
    who were separated from their parent or Legal Guardian after January 20, 2017 and prior to June
    26, 2018, and who would otherwise be Ms. L Settlement Class members, but who are excluded
    from the class based on the criminal history of their parent or Legal Guardian.


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       D. Individuals Falling within the Expanded Date Range: The Parties will amend the
   certified class to include in the Ms. L. Settlement Class all individuals who otherwise meet the
   definitions set forth in this Section, and who were separated from their children at any time
   between January 20, 2017 and July 1, 2017. The complete date range of the Ms. L. Settlement
   Class will therefore be January 20, 2017 through January 20, 2021, subject to any limitations
   contained elsewhere in this Settlement Agreement.

       E. Legal Guardians: The Parties will amend the certified class to include in the Ms. L.
   Settlement Class, subject to the same parameters for inclusion and exclusion of parents described
   elsewhere in this Section, any individual who can establish that he or she was separated from a
   child at any time between January 20, 2017 and January 20, 2021, and who can provide official
   documentation, including documentation from indigenous or tribal authorities, that the individual
   was in fact the Legal Guardian of that child, as defined above, at the time of separation under the
   appropriate law.

          1. For purposes of establishing legal guardianship, “nunc pro tunc” documents that are
      official and verifiable from a competent legal authority that establish that legal guardianship
      existed at the time of the separation would be acceptable.

          2. Generally, a birth certificate or legally amended birth certificate is accepted as
      presumptive evidence of parentage. If, for some reason, there is conflicting evidence in the
      record of who is the parent, the individual can submit evidence from a competent legal
      authority that establishes the individual was the child’s Legal Guardian at the time of
      separation.

        F. Parentage. An adult who was separated from a child on the basis that he or she was
   determined not to be the parent of the child will be considered a member of the Ms. L. Settlement
   class if the adult can show that he or she is, in fact, the parent of the separated child. Where the
   separation was based on a belief that the adult was not the child’s parent, Defendants will accept
   all available evidence as a means to verify parentage, including consultations with the consulate,
   HHS acknowledgement of a parent-child relationship, and DNA testing.

       G. Families Where the Separated Child is a U.S. Citizen: The parties will amend the
   certified class to include in the Ms. L. Settlement Class, subject to the same parameters for
   inclusion and exclusion of parents described elsewhere in this Section, parents or Legal Guardians
   who were separated from their child at any time between January 20, 2017 and January 20, 2021,
   where the separated child is a U.S. citizen and therefore was not sent to ORR custody. The Parties
   agree that this Settlement Agreement does not create any obligation on the part of Defendants to
   identify or notify individuals in any particular manner or timeframe who fall under this subsection
   of the Ms. L. Settlement Class. However, the Defendants agree that they will meet and confer at
   Plaintiffs’ request every three months until the Final Registration Date to evaluate methods by
   which Defendants may identify Ms. L. Settlement Class members who fall in this category, and
   the Defendants agree that when they identify U.S. citizen children who may be Ms. L. Settlement
   Class members, Defendants will provide the name and any contact information in Defendants’
   possession of such parents, Legal Guardians, and children to Class Counsel under the protective
   order.


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       H. Separations Where the Noncitizen Child Was Not Sent to ORR: With the exception of
   cases where the child was a U.S. citizen and therefore could not be sent to ORR, there is a
   presumption that if a parent or Legal Guardian and child entered CBP custody together, and the
   child was never sent to ORR custody, then the parent or Legal Guardian and his or her child are
   not class members. However, if a parent or Legal Guardian and noncitizen child entered CBP
   custody together and the parent or Legal Guardian and noncitizen child were separated, and the
   parent or Legal Guardian was referred for prosecution under 8 U.S.C. § 1325 or 8 U.S.C. § 1326(a)
   after January 20, 2017, and on or before June 26, 2018, then the parent or Legal Guardian and
   noncitizen child will be considered class members for the purposes of this Settlement Agreement,
   even if the parent or Legal Guardian and noncitizen child were reunified before leaving CBP
   custody. Any such inclusion determination will be subject to the other provisions of this Section.

       I. Individuals Separated for Medical Reasons, Because of an Active Warrant, or Due to
   Concerns about Fitness or Dangerousness: The Parties agree that, in the following situations,
   the separation of a parent or Legal Guardian and child after January 20, 2017 and before January
   20, 2021, may have been appropriate under the terms of the Court’s preliminary injunction:

          1. medical reasons that required outside care;

          2. mental health concerns that required placement on suicide watch;

          3. transfer to criminal custody based on an active warrant and confirmation from the
             issuing jurisdiction that the parent or Legal Guardian would be extradited; and

          4. objective reasons to be concerned that the parent or Legal Guardian may have been
             unfit or posed a danger to the child.

   In all of the cases identified in Sections II.I.1 through II.I.4 above, the government was obliged to
   reunify a parent or Legal Guardian and child if and when the basis for separation was resolved. In
   recognition of the fact that the Court’s preliminary injunction required that such reunifications
   occur in an expedited fashion, the Parties agree that individuals separated for the reasons above
   will be eligible for the relief available to the Ms. L. Settlement Class under the following
   conditions:

          • Any parent or Legal Guardian and child separated for the reasons identified in Sections
          II.I.1 through II.I.4 after January 20, 2017, and on or before June 26, 2018, will be included
          in the Ms. L. Settlement Class unless the parent or Legal Guardian would otherwise be
          excluded from the class on the basis of his or her criminal history as described in Section
          II.J.

          • Any parent or Legal Guardian and child separated after June 26, 2018, and before
          January 20, 2021, for the reasons identified in Sections II.II.1 through II.I.3, will
          presumptively remain excluded from the Ms. L Settlement Class. However, a parent or
          Legal Guardian identified in Sections II.I.1 through II.I.3 who does not have a criminal
          history that would exclude him or her from the Ms. L. Settlement Class may establish a
          right to be included in the Ms. L. Settlement Class if he or she can show that when the
          medical reason that required outside care of the parent or Legal Guardian had ended, or

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          when the parent or Legal Guardian was released from criminal custody, he or she was not
          reunified in accordance with the “streamlined” procedures identified by the Court that
          provided for reunification upon a determination that: (1) he or she was the parent or Legal
          Guardian of the child; and (2) there was no information that raised a concern about the
          welfare of the child. See ECF No. 101 at 2-3.

          • Any parent or Legal Guardian who was separated from his or her child after June 26,
          2018 and before January 20, 2021 for the reasons identified in Section II.I.4 will
          presumptively be included in the Ms. L Settlement Class unless (a) the parent or Legal
          Guardian would otherwise be excluded from the class on the basis of his or her criminal
          history as described in Section II.J, or (b) the government provides evidence that the parent
          or Legal Guardian and child were promptly reunified immediately after any and all
          objective reasons to be concerned that the parent or Legal Guardian may have been unfit
          or posed a danger to the child were favorably resolved.

       J. Exclusions for Criminal History: The Parties agree that those with the following criminal
   convictions at the time of the separation, or whose separation was the result of a prosecution and
   subsequent conviction for one of the following criminal convictions (excluding a separation as a
   result of a prosecution and subsequent conviction for a violation of 8 U.S.C. § 1325 or § 1326(a)),
   shall presumptively not be Ms. L. Settlement Class members, and that this presumption will be
   evaluated, on a case-by-case basis, and may be rebutted according to the process laid out below
   and in Section III.

          1. Persons with one or more felony criminal conviction(s) in the United States, other than
             a single conviction for a felony violation of 8 U.S.C. § 1325 or § 1326(a);

          2. Persons with one or more conviction(s) in the United States or an analogous conviction
             abroad for:

              a. a crime involving sexual abuse or exploitation of a minor, as defined in Application
                 Note 1 of § 2G2.2 of the U.S. Sentencing Guidelines and also including trafficking
                 in, or possession of, child pornography; or

              b. a crime involving prohibited sexual conduct, as defined in Application Note 1 of §
                 2A3.1 of the U.S. Sentencing Guidelines, provided, however, that it shall not be a
                 basis for exclusion if:

                 i.   the crime arose from the fact that the person engaged in prostitution, or loitering
                      for prostitution: or
                ii.   if convicted in the United States, the person served a sentence of six months or
                      less of incarceration; or
               iii.   if convicted in a foreign country, the offense carried a penalty of six months or
                      less of incarceration; or

              c. a crime of domestic violence, stalking, and child abuse, as defined in 8 U.S.C. §
                 1227(a)(2)(E)(i);


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                  or:

          3. Persons with a felony criminal conviction(s) in a foreign country where the conviction
             was for a crime analogous to a crime enumerated in 18 U.S.C. § 3559(c)(2)(F) or
             (c)(2)(H).

           “Conviction” means a final judgment of conviction by a criminal court as governed by the
   jurisdiction of conviction’s criminal laws. It does not include, for example, dispositions that are
   vacated, expunged, pardoned, or dismissed upon completion of rehabilitative programs. The FRTF
   Research Committee may examine deferred or withheld adjudications to ascertain whether such
   adjudications resulted in a conviction as of the time of separation. Class Counsel may provide the
   FRTF Research Committee with any information available to Class Counsel indicating that a
   conviction is not a final judgment of conviction at the time of separation.

          As part of the process set forth in Section III below, the FRTF Research Committee will
   evaluate whether an individual has rebutted the presumption that he or she is not a member of the
   Ms. L. Settlement Class despite his or her convictions at the time of separation for an offense set
   forth above. The FRTF Research Committee will review the information provided by Class
   Counsel, as well as the record of criminal convictions at the time of separation, to make this
   determination. In its use of any foreign databases, the FRTF Research Committee shall consider
   only convictions for offenses described in subsections II.J.2 and II.J.3 above. Where the FRTF
   Research Committee considers information from foreign databases it shall, as in all cases, also
   consider any countervailing information provided on the individual’s behalf.

          To make case-by-case determinations of class membership for individuals presumed not to
   be Ms. L. Settlement Class members because of criminal convictions described in Sections II.J.1
   through II.J.3 above, the FRTF Research Committee will be guided by the following
   considerations:

      •   Whether the criminal conviction(s) demonstrate a threat to national security or public
          safety. Factors that point to a public safety threat, or to the absence of such a threat, include
          whether the conduct at issue poses a danger of violence toward, or abuse or exploitation
          of, others; the number of criminal convictions; the length of time since the offense date of
          the most recent criminal conviction that falls within subsections II.J.1-3 above, at the time
          of the separation; and the nature of the injury to another resulting from the conduct related
          to the conviction(s), and

      •   The seriousness of the criminal conviction(s).

            Information presented by Class Counsel and other mitigating information will also be
   considered in the review, including any explanation of or justification for the criminal activity
   (e.g., issues related to poverty, self-defense, or persecution of the individual by authorities), the
   age and maturity of the individual at the time of the conviction, evidence of rehabilitation,
   humanitarian factors about the individual or their family, and other relevant information about the
   individual’s circumstances.




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   III. Procedure for Determining Membership in the Ms. L. Settlement Class

           This procedure will be used to resolve all issues regarding inclusion in the Ms. L.
   Settlement Class, including the submission of any documentation necessary for resolving such
   disputes. Parents or Legal Guardians who were separated from their child(ren) at the U.S.-Mexico
   border between January 20, 2017 and January 20, 2021, may seek inclusion in the Ms. L.
   Settlement Class and/or seek certain benefits available to the Ms. L. Settlement Class by presenting
   their information to the FRTF via the website together.gov or juntos.gov. By registering on the
   website, registrants are identifying themselves as current or potential class members. In order to
   be considered for relief under this Settlement Agreement, all potential Ms. L. Settlement Class
   members must register via the website together.gov or juntos.gov no later than the Final
   Registration Date.

           If the individual has not already been included in the Ms. L. Settlement Class, the FRTF
   Research Committee will review the information a registrant provides to together.gov or
   juntos.gov, as well as DHS databases and National Criminal Information Center holdings, to
   determine if the individual is a member of the Ms. L. Settlement Class.

           If the individual is not determined to be a member of the Ms. L. Settlement Class, including
   because of the individual’s criminal history, Class Counsel and the individual will be notified of
   that fact by the FRTF Research Committee within 20 business days of registration on together.gov
   or juntos.gov. The written notification will explain the FRTF Research Committee’s determination
   and include information and a copy of any document(s) that support the basis for the FRTF
   Research Committee’s determination that the individual does not appear to be a presumptive
   member of the Ms. L. Settlement Class. If the FRTF Research Committee is legally prohibited
   from sharing a copy of the document(s), or if national security concerns would prohibit disclosure,
   then a summary of those documents shall suffice, as appropriate. Class Counsel will then have 60
   business days to provide the FRTF Research Committee information to guide its case-by-case
   review; this 60-day period may be extended for up to 90 additional business days when Class
   Counsel notifies the FRTF Research Committee that such additional time is required. The FRTF
   Research Committee will then review the additional information provided by the Class Counsel
   and issue a decision as soon as practicable but not later than within 45 business days.

           The FRTF Research Committee will promptly notify Class Counsel of the results of its
   case-by-case review. If the FRTF Research Committee determines that the individual should be
   part of the Ms. L. Settlement Class, the individual will be added to the list of Ms. L. Settlement
   Class members. If the FRTF Research Committee determines that the individual should not be
   part of the Ms. L. Settlement Class after reviewing the additional information, Class Counsel may
   appeal that decision to an independent adjudicator within thirty days of the FRTF Research
   Committee’s decision. Class Counsel may seek one extension of the appeal deadline for up to 30
   days, which shall be granted sparingly based on a showing of good cause at the discretion of the
   independent adjudicator. The parties will identify, agree to, and stipulate to the Court for
   appointment of an individual to serve as independent adjudicator. The independent adjudicator
   will review the FRTF Research Committee’s decision, government documents the adjudicator
   deems relevant, and any submissions by Class Counsel, to determine de novo whether the
   preponderance of evidence supports the determination. The independent adjudicator will issue an
   order as to who pays the costs for any adjudication brought to him or her. Costs generally will be

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   paid by the losing party unless the independent adjudicator determines that the appeal, though
   unsuccessful, was reasonable and based on non-frivolous claims of error.

   IV. Relief Available to the Ms. L. Settlement Class

      A. Opportunity to Reunify for Ms. L. Settlement Class Members

       Defendants will establish processes to provide the opportunity for all Ms. L. Settlement Class
   members to be able to reunify with their separated parent, Legal Guardian, or child. Defendants
   will also provide a process by which Qualifying Additional Family Members can similarly be
   provided an opportunity to live with the reunified parent or Legal Guardian and child in the United
   States. Defendants will return to the United States Ms. L. Settlement Class members and certain
   Qualifying Additional Family Members that the FRTF Research Committee determines are
   necessary for reunification at the government’s expense, including the costs of travel and related
   support, to include travel support that is necessary to facilitate return and reunification. These
   processes are set forth in Section IV.C.1. of the Settlement Agreement.

      B. Support for Ms. L. Settlement Class Members Inside the United States

          1.      The government will provide support and services to Ms. L. Settlement Class
      members already in the United States, or who have returned to the United States, as detailed
      below. The Parties agree that this support and services are necessary to facilitate successful
      reunifications and/or to prevent any ongoing harm caused by the initial separation. All services
      provided to Ms. L. Settlement Class members under this Section must begin no later than the
      Final Services Date.

          2.      To facilitate the provision of the below support and services, the government will,
      consistent with applicable contract and grant requirements, expeditiously contract with, or
      enter into grants with, a third-party to provide benefit administration services for the housing
      benefits and will provide information to Ms. L. Settlement Class members concerning how to
      access the behavioral health and legal services described below. The provision of these services
      and benefits are subject to the availability of federal appropriations. The federal defendants
      may enter into an Economy Act Agreement among themselves under which one agency may
      award grants on their behalf to carry out the services provided under this Settlement
      Agreement. The government shall inform Class Counsel of the name of the selected contractor
      or grantee(s). A government contractor or grantee(s) will establish contact with the Ms. L.
      Settlement Class members to inform them of these services.

              a. Behavioral Health Services: To facilitate the successful reunification of families
          and/or prevent ongoing harm caused by the initial separation of Ms. L. Settlement Class
          members, Defendants will make behavioral health services available to Ms. L. Settlement
          Class members from the Effective Date until one year after the Termination Date. In
          addition, HHS may, at its discretion, allow its contractor to extend behavioral health
          services to other immediate family members of class members if HHS determines that
          providing such services will assist class members in their successful reunification. Any
          individual Ms. L. Settlement Class member will be eligible to receive up to three years of
          such services. This is the only form of relief that will be available to separated children

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        defined in Section II.C. above, who are members of the Ms. L. Settlement Class but whose
        parents or Legal Guardians are excluded from the Ms. L. Settlement Class on the basis of
        their criminal history. The behavioral health services to be provided under this provision
        of the Settlement Agreement include a continuation of the same child-centered pre-
        reunification counseling, clinical treatment services, behavioral health case management,
        psychoeducation, and parenting support that are being provided under an existing contract.

            b. Assistance with Certain Medical Costs: To support the successful reunification of
        Ms. L. Settlement Class member families who have returned and are returning to the United
        States for reunification, Defendants will make assistance available in paying the
        copayments incurred by Ms. L. Settlement Class members when receiving medical services
        at Federally Qualified Health Centers during a 12-month eligibility period.

               • Ms. L. Settlement Class members in the United States who are registered in
               together.gov and confirmed as Ms. L. Settlement Class members as of the Effective
               Date have 12 months from the Effective Date to initiate their 12-month eligibility
               period;

               • Ms. L. Settlement Class members in the United States who are not registered
               in together.gov or confirmed as Ms. L. Settlement Class members as of the
               Effective Date have 12 months from their Settlement Class Member Confirmation
               Date to initiate their 12-month eligibility period; and

               • Ms. L. Settlement Class members not in the United States at the time of the
               settlement would be notified of the availability of the copayment assistance upon
               receiving confirmation that they are a Ms. L. Settlement Class member, and would
               have 12 months from the date they arrive in the United States to initiate their 12-
               month eligibility period.

            c. Immigration Legal Services: Defendants, with EOIR, will provide legal access and
        orientation as detailed below to specifically focus on Ms. L. Settlement Class members.
        The services will include:

              i.   Legal Access Services for Reunified Families

                   (a) In addition to the group information sessions, individual information
                       sessions, and self-help workshops that EOIR’s Immigration Court Helpdesk
                       Program (ICH) currently offers, EOIR, through ICH or a separate similar
                       program (“Program”), shall also provide assistance to Ms. L. Settlement
                       Class members, short of full representation, including:
                       • legal advice, such as individualized consultations and counseling about
                           relief for which Ms. L. Settlement Class members may be eligible, and
                           the steps necessary to apply for such relief, as well as preparation for
                           any interviews before USCIS;
                       • assistance      with document preparation, including preparing
                           immigration-related legal documents for submission to DHS (including

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                        USCIS), and EOIR pursuant to EOIR’s limited appearance regulations;
                        and
                    •   Friend of the Court services, where allowed by the immigration court,
                        to facilitate the flow of information in the courtroom, including
                        informing noncitizens of their rights and obligations and calling
                        attention to law or facts that may be helpful to the immigration court.
                        Where permitted by the immigration court, EOIR will facilitate remote
                        or in-person access for Friend of Court services as appropriate given
                        language needs or location of the participating family and legal services
                        provider.
                    •   The Program shall also provide transportation stipends for in-person
                        legal services court appearance for families for whom remote services
                        are inappropriate given language needs or disability.
                    •   EOIR will provide trauma-informed interpretation for Ms. L. Settlement
                        Class members receiving Program services.
                    •   This Program will be available through at least eight regional offices.

                 (b) The Program will ensure that, in addition to providing the services listed
                     above at existing ICH locations, and in person where possible, the Program
                     will provide these services via remote technology to Ms. L. Settlement Class
                     members who (1) live outside the ICH’s geographic regions, or (2) are
                     otherwise unable to obtain ICH services.

                 (c) The Program will create new resources and orientation presentations
                     tailored to address the particular needs of Ms. L. Settlement Class members.
                     The orientations will address, at a minimum, the immigration court process,
                     any forms of relief that may allow the families to remain in the United
                     States, and questions about family reunification and humanitarian parole.
                     The Program will also develop written materials as resources for the
                     families, to include self-help guides, videos, and more. The Program will
                     offer additional tailored pro se workshops to assist Ms. L. Settlement Class
                     members prepare any applications for relief, as needed, and will create
                     guidance documents to explain any changes in the law or settlement
                     processes that may impact Ms. L. Settlement Class members. The materials
                     will be offered in the best language of the Ms. L. Settlement Class member.

                 (d) Defendants will ensure that the Program is adequately resourced and funded
                     to provide services for all unrepresented Ms. L. Settlement Class members,
                     with the ability to increase funding to meet projected needs as determined
                     by Defendants, taking into account information about needs provided by
                     Plaintiffs. EOIR will not decrease funding for its current legal access
                     programs (ICH, LOPC, LOP, CCI/NQRP) in order to fund legal services
                     under this Settlement.

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             ii.   Program to Place Cases with Pro Bono Representatives

                   (a) EOIR cannot ensure that it can find a pro bono representative for every
                       family. However, the Program will leverage its existing pro bono referral
                       efforts, and provide additional funding, to recruit, train, mentor, and match
                       pro bono attorneys to represent Ms. L. Settlement Class members. EOIR
                       will facilitate Model Hearing Programs in connection with provider training
                       for new pro bono representatives, where available.

                   (b) The Program would identify cases for pro bono placement through in-depth
                       individualized consultations of Ms. L. Settlement Class members. These
                       cases would then be placed on an online pro bono platform to help match
                       potential pro bono representatives with reunified families. The Program will
                       provide pro bono attorneys with mentors to advise and consult with them
                       throughout the case.

                   (c) All pro bono attorneys to whom Ms. L. Settlement Class members are
                       referred through EOIR will be notified that pro bono psychological
                       evaluations will be made available through the existing HHS behavioral
                       health contract with Seneca Family of Agencies.

                   (d) The Program will create a library of written and recorded training materials
                       to help pro bono attorneys and legal service providers to best assist Ms. L.
                       Settlement Class members. The trainings will cover substantive and
                       procedural immigration law issues, education on working with vulnerable
                       populations, trauma-informed care, and child protection. Additionally,
                       webinars/video trainings will also be provided on immigration-related
                       topics to help with effective representation.

            iii.   Assistance Outside EOIR Proceedings

                   (a) To ensure Ms. L. Settlement Class members have the ability to reunify
                       through the process set out in Section IV.C.1, and as part of the
                       governmental assistance to Qualifying Additional Family Members in
                       Section IV.C.1., Defendants will continue to contract with an independent
                       contractor to communicate with Ms. L. Settlement Class members and assist
                       Ms. L. Settlement Class members and Qualifying Additional Family
                       Members with necessary parole and employment authorization
                       applications.

                   (b) Defendants will, under the Protective Order, ensure that contact information
                       of Ms. L. Settlement Class members is provided to the contractor, and
                       establish links between the contractor and other organizations that work

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                      with, or have potential access to, Ms. L. Settlement Class members to
                      facilitate referrals to the Program. This would include a call center (e.g.,
                      ‘hotline’ or telephonic help desk) that will conduct affirmative outreach to
                      identify and screen people and refer them to services.

                   (c) The contractor will be authorized to coordinate with Class Counsel and the
                       designated provider organization to ensure that Ms. L. Settlement Class
                       members and Qualifying Additional Family Members are aware of legal
                       services, to maintain continuity of services, and to assist where necessary to
                       ensure reunification.

            d. Housing Support: To support the successful reunification of families who have
        returned and are returning to the United States for reunification, Defendants will make
        housing assistance available to Ms. L. Settlement Class members in meeting housing needs,
        as determined necessary by a benefits administration contractor or grantee during a 12-
        month eligibility period. This may include assistance in locating housing; paying costs
        necessary to attain housing, e.g., security deposit and first and last month’s rent; and
        assistance to avoid eviction and meet other emergency housing needs during the 12-month
        eligibility period. Payments would typically be made to landlords and not in the form of
        cash to the Ms. L. Settlement Class member, and would be for no more than a total of 6
        months during the 12-month eligibility period absent extraordinary circumstances.

              i.   If the housing assistance is available as of the Effective Date:

                   (a) Ms. L. Settlement Class members in the United States who are registered in
                       together.gov and confirmed to be a Ms. L. Settlement Class member as of
                       the Effective Date would have 12 months from the Effective Date to initiate
                       their 12-month eligibility period;
                   (b) Ms. L. Settlement Class members in the United States who are not registered
                       in together.gov or not yet confirmed as a Ms. L. Settlement Class member
                       as of the Effective Date would have 12 months after their Settlement Class
                       Member Confirmation Date to initiate their 12-month eligibility period; and
                   (c) Ms. L. Settlement Class members not in the United States at the time of the
                       Effective Date would be notified of the availability of the housing assistance
                       upon receiving confirmation that they are a Ms. L. Settlement Class
                       member, and would have 12 months from their arrival in the United States
                       to initiate their 12-month eligibility period.

             ii.   If the housing assistance becomes available after the Effective Date, then a Ms.
                   L. Settlement Class member will have one year from the date that all three of
                   the following conditions are met to initiate their eligibility period: (1) the Ms.
                   L. Settlement Class member is inside the United States; (2) he or she is
                   confirmed to be a Ms. L. Settlement Class member; and (3) he or she is notified
                   of the availability of the housing assistance benefit.




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       C. Immigration Processing

          1. Thirty-six months of Parole and Employment Authorization

           Certain Ms. L. Settlement Class members and Qualifying Additional Family Members, as
   defined in Section I.L., will have the opportunity to apply for parole pursuant to section 212(d)(5)
   of the Immigration and Nationality Act (INA) with USCIS. This opportunity will extend to Ms. L.
   Settlement Class members and Qualifying Additional Family Members who are not currently in
   the United States, as well as those present in the United States who upon their last entry were not
   admitted. Ms. L. Settlement Class members and Qualifying Additional Family Members who are
   in removal proceedings, or who have a final order of removal or an order granting voluntary
   departure, can apply for parole with USCIS under this process. Parole for individuals already
   present in the United States is sometimes referred to as “parole in place” (“PIP”). Parole
   applications will be adjudicated on a case-by-case basis and approval of the request for parole is
   not guaranteed based on this Settlement Agreement. DHS retains its existing discretion to grant or
   deny applications for parole, as well as its existing discretion to grant or deny parole at the time of
   inspection at a port of entry.

           Ms. L. Settlement Class members who wish to request parole under this process must
   register on together.gov or juntos.gov. They may then file a parole application with USCIS on
   Form I-131, Application for Travel Document, 3 following the instructions set forth in the
   applicable FRTF Parole Filing Guidelines. 4 Ms. L. Settlement Class members will not be required
   to submit proof of financial support with their parole requests.

           Individuals seeking parole as Qualifying Additional Family Members must submit
   evidence of the familial relationship with, or membership in the immediate household of, a Ms. L.
   Settlement Class member, and an urgent humanitarian reason for consideration for parole. The
   Qualifying Additional Family Members must also follow the FRTF Parole Filing Guides. If the
   Qualifying Additional Family Member lives in the same country as the Ms. L. Settlement Class
   member, the parole requests must be filed at the same time as the request of the Ms. L. Settlement
   Class member, absent exceptional circumstances. If the Qualifying Additional Family Member is
   living in a different country from the Ms. L. Settlement Class member, they may file at different
   times, although concurrent filing is preferred.

           USCIS will exempt the filing fee for the Form I-131, Application for Travel Document
   (parole application), for all Ms. L. Settlement Class members’ and Qualifying Additional Family
   Members’ parole requests submitted in compliance with the FRTF Parole Filing Guides. Requests
   for parole will be adjudicated on a case-by-case basis and parole is not guaranteed based on this
   Settlement Agreement. For evidentiary support, USCIS will accept and consider any relevant

   3
      This includes successor versions of Form I-131.
   4
      “Guide for Completing a Form I-131, Application for Travel Document, and Filing an Initial
   Parole Request under the Family Reunification Task Force (FRTF) Process on behalf of
   Individuals Outside the United States” or the “Guide for Completing a Form I-131, Application
   for Travel Document, and Filing an Initial Parole-in-Place (PIP) Request under the Family
   Reunification Task Force (FRTF) Process” or their replacements (collectively, FRTF Parole Filing
   Guides).
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   credible evidence, including a declaration from the applicant or the applicant’s family member, or
   any other individual with direct personal knowledge of the relevant facts or circumstances of the
   qualifying relationship.

           If the parole request is approved, USCIS will issue a travel document authorizing parole
   for a period of 36 months from the date the individual is paroled at the port of entry (for individuals
   outside the United States) or a Form I-94, Arrival/Departure Record valid for 36 months from the
   date parole is approved (for requests for parole in place). CBP has final authority to grant parole
   at the port of entry. The Ms. L. Settlement Class member or Qualifying Additional Family Member
   may apply for employment authorization pursuant to 8 C.F.R. § 274a.12(c)(11) once he or she is
   paroled into the United States. An initial Form I-765, Application for Employment Authorization
   (EAD application), will be accepted and adjudicated without a fee or a fee waiver required and, if
   approved, the time frame for employment authorization will align with the duration of parole.

          Ms. L. Settlement Class members and Qualifying Additional Family Members who are in
   removal proceedings pursuant to Section 240 of the INA will not be required to obtain dismissal,
   termination, administrative closure, or continuances of their removal proceedings before
   requesting parole from USCIS.

           The government’s preference is that Ms. L. Settlement Class members and Qualifying
   Additional Family Members in the United States, who receive parole from USCIS as described in
   this section and are in INA § 240 removal proceedings or withholding-only proceedings before an
   Immigration Judge request, by contacting the applicable ICE Office of the Principal Legal Advisor
   (ICE OPLA) field location, that DHS agree to the filing of a joint motion to dismiss their removal
   proceedings without prejudice, or alternatively, to not oppose a motion for administrative closure
   of their removal proceedings, where permitted by law, with the immigration court. DHS will
   review such requests on a case-by-case basis, including whether dismissal or administrative
   closure of the case is warranted as a matter of prosecutorial discretion. DHS will consider
   membership in the Ms. L. Settlement Class, designation as a Qualifying Additional Family
   Member, and the grant of parole, as factors in determining whether to exercise prosecutorial
   discretion. DHS’s agreement or non-opposition to the filing of such motions will also be contingent
   on the Ms. L. Settlement Class member or Qualifying Additional Family Member being neither
   potentially subject to nor been found to be subject to a statutory bar to asylum pursuant to 8 U.S.C.
   § 1158(b)(2)(A)(i)-(v), INA § 208(b)(2)(A)(i)-(v). An immigration judge’s grant of a joint motion
   to dismiss or terminate removal proceedings shall not reflect an adjudication on the merits of the
   Ms. L. Settlement Class member’s or Qualifying Additional Family Member’s removability. In
   cases in which a Ms. L. Settlement Class member’s or Qualifying Additional Family Member’s
   INA § 240 removal proceedings have been administratively closed pursuant to this Settlement
   Agreement, either party may move to recalendar those proceedings through the filing of a motion
   to recalendar with the immigration court. Ms. L. Settlement Class members’ or Qualifying
   Additional Family Members’ receipt of parole shall not be conditioned on their taking any action
   to delay or dismiss their pending INA § 240 removal proceedings. The FRTF will communicate
   the A-numbers of individuals approved for parole to ICE Enforcement and Removal Operations
   (ERO) and ICE OPLA to ensure those DHS components remain fully informed.




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           Ms. L. Settlement Class members and Qualifying Additional Family Members who are in
   INA § 240 removal proceedings, or are in expedited removal proceedings, or are in withholding
   only proceedings, or have an expedited removal order with a pending credible fear interview (CFI),
   or have a reinstated order of removal with a pending reasonable fear interview (RFI), may request
   parole from USCIS under this Section; however, certain procedural steps must occur depending
   on the proceeding.

          For Ms. L. Settlement Class members and Qualifying Additional Family Members in INA
   § 240 removal proceedings or withholding-only proceedings before an immigration judge:

              a. If USCIS denies the Ms. L. Settlement Class member’s or Qualifying Additional
          Family Member’s parole application, and the individual’s INA § 240 or withholding-only
          proceedings have not been terminated, dismissed, or administratively closed, the
          proceedings will move forward until completion. If INA § 240 removal proceedings or
          withholding-only proceedings were administratively closed, DHS may move to recalendar
          the case.

               b. If USCIS approves the parole application and the Ms. L. Settlement Class member’s
          or Qualifying Additional Family Member’s INA § 240 removal proceedings have not been
          administratively closed, the individual may submit a request to ICE OPLA that it agree to
          the filing of a joint motion to dismiss, or not oppose a motion to administratively close his
          or her proceedings. The request must be submitted on or before one year after USCIS
          approves the parole application. This request deadline does not abrogate or shorten any
          potentially applicable deadlines set forth in Section IV.C.3., infra. The request must also
          contain, at minimum, evidence that the individual is a Ms. L. Settlement Class member or
          Qualifying Additional Family Member, including but not limited to USCIS’ grant of
          parole, and the authorized period of parole must not have expired or been terminated. DHS
          will review properly submitted requests on a case-by-case basis within 90 days of the next
          scheduled hearing, or as soon as practicable if no hearing is scheduled, and agree to the
          filing of a joint motion for dismissal without prejudice or to not oppose a motion for
          administrative closure if DHS determines that such action is appropriate as a matter of
          prosecutorial discretion. DHS will consider membership in the Ms. L. Settlement Class and
          the grant of parole as factors in determining whether to exercise prosecutorial discretion.
          DHS’s agreement to the filing of such motions will also be contingent on the Ms. L.
          Settlement Class member or Qualifying Additional Family Member being neither
          potentially subject to nor been found to be subject to a statutory bar to asylum pursuant to
          8 U.S.C. § 1158(b)(2)(A)(i)-(v), INA § 208(b)(2)(A)(i)-(v) due to information unknown to
          USCIS at the time of adjudication or actions since the individual was granted parole by
          USCIS. The immigration judge’s grant of a joint motion to dismiss or terminate shall not
          reflect an adjudication on the merits of the Ms. L. Settlement Class member’s or Qualifying
          Additional Family Member’s removability.

           Ms. L. Settlement Class members and Qualifying Additional Family Members in INA §
   240 removal proceedings or withholding-only proceedings before an immigration judge who have
   properly filed a parole request with USCIS and were issued a Form I-797, Notice of Action,
   reflecting USCIS receipt of their Form I-131 and a copy of their properly filed Form I-131, may

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   submit a request to the applicable ICE OPLA field location for DHS to join or not oppose a motion
   for a continuance of the proceeding at any time but no later than one year after USCIS issues the
   Form I-797. DHS will review the request on a case-by-case basis, including whether a continuance
   is warranted as a matter of prosecutorial discretion, within 90 days of the scheduled hearing. DHS
   will also respond to any inquiries by the FRTF regarding its review of or decision on the motion
   for a continuance. ICE OPLA will consider membership in the Ms. L. Settlement Class and
   designation as a Qualifying Additional Family Member as factors in determining whether to
   exercise prosecutorial discretion.

          For Ms. L. Settlement Class members and Qualifying Additional Family Members who
   have expedited removal or reinstatement orders, are in expedited removal proceedings with a
   pending CFI, or have a reinstated order of removal with a pending RFI:

              a. The expedited removal order or reinstated order does not need to be cancelled in
                 order to request parole.

              b. The underlying expedited removal order or reinstated order cannot be executed
                 because of the pending CFI or RFI.

              c. USCIS may authorize a new parole period through this process if the individual
                 was previously paroled by ICE or CBP for purposes of a CFI or RFI.

           Ms. L. Settlement Class members and Qualifying Additional Family Members who have
   final orders of removal received in INA § 240 proceedings, and/or who have pending motions to
   reopen and petitions for review of such orders, may request parole in place without requesting
   reopening of the final removal order.

          Ms. L. Settlement Class members with an Unfiled NTA, may request parole under this
   Section.

           When considering whether to approve a request for parole by a Ms. L. Settlement Class
   member or a Qualifying Additional Family Member with prior conditions of release imposed by
   ICE or CBP, USCIS may consult with ICE or CBP regarding whether CBP or ICE intend to lift or
   modify the prior conditions of release following a USCIS parole approval. Decisions on conditions
   of release from custody are discretionary and this agreement does not guarantee that DHS will
   agree to lift or modify such conditions.

           Ms. L. Settlement Class members and Qualifying Additional Family Members who are in
   the United States may request additional parole periods (i.e., re-parole) with USCIS prior to the
   expiration of their authorized parole period and prior to the Termination Date if there is a continued
   need to promote family well-being and unity or to continue behavioral health services under this
   Settlement Agreement. This showing of continued need may be based on the same or similar
   evidence that supported the initial application but must demonstrate that the need is ongoing. If
   approved for re-parole, the authorized period of parole will be for the period needed to achieve the
   stated purpose, up to an additional thirty-six months. Ms. L. Settlement Class members and
   Qualifying Additional Family Members requesting re-parole will not be required to pay the parole

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   application fee. Requests for re-parole will be determined on a case-by-case basis and parole is
   not guaranteed based on this Settlement Agreement. If the Ms. L. Settlement Class member or
   Qualifying Additional Family Member’s re-parole request is approved, the applicant may apply
   for employment authorization pursuant to 8 C.F.R. § 274a.12(c)(11) to align with the period of re-
   parole. USCIS will also exempt the filing fee for one Form I-765 renewal application for
   employment authorization, with no fee waiver application required, based on a period of re-parole
   granted under this settlement for Ms. L. Settlement Class members and Qualifying Additional
   Family Members.

           In cases where Ms. L. Settlement Class members’ and Qualifying Additional Family
   Members’ parole applications pursuant to this Settlement Agreement are denied by USCIS, USCIS
   will not use the denial of the parole application as the sole basis for referring the case for any
   enforcement action or issuance of an NTA. In all cases, USCIS will exercise its discretion on a
   case-by-case basis to determine whether issuance of an NTA or referral for enforcement action is
   necessary, weighing all aggravating and mitigating factors, including the harm caused by family
   separation.

          2. Further Immigration Relief

          DHS will create a single dedicated email inbox overseen by the Family Reunification Task
   Force, where certain immigration related requests can be sent, unless otherwise noted in the
   Settlement Agreement or in filing instructions provided by DHS.

              a. Procedures for Ms. L. Settlement Class Members in the United States to Apply for
                 Asylum with USCIS

           The government will provide the opportunity for Ms. L. Settlement Class members who
   are in the United States to file affirmative asylum applications with USCIS and have those
   applications adjudicated or have preexisting affirmative asylum applications already filed with
   USCIS adjudicated, according to the following terms. USCIS will provide filing instructions for
   Ms. L. Settlement Class members consistent with the terms of this Settlement Agreement. Ms. L.
   Settlement Class members must comply with any such filing guidance and other procedures
   provided by USCIS. Asylum applications will be adjudicated on a case-by-case basis and approval
   of the application is not guaranteed based on this Settlement Agreement. USCIS retains its
   discretion to grant, deny, dismiss, or refer applications to EOIR under 8 U.S.C. § 1158, INA § 208;
   8 C.F.R. § 208.14.

          All properly filed and complete asylum applications filed by Ms. L. Settlement Class
   members with USCIS on or before the deadlines specified in Section IV.C.3., shall qualify for an
   extraordinary circumstances exception under 8 U.S.C. § 1158(a)(2)(D), INA § 208(a)(2)(D); 8
   C.F.R. §§ 208.4(a)(5), 1208.4(a)(5) and will be found to have been filed within a reasonable period
   given the circumstances under 8 C.F.R. §§ 208.4(a)(5), 1208.4(a)(5) for purposes of the statutory
   one-year filing deadline requirement under 8 U.S.C. § 1158(a)(2)(B), INA § 208(a)(2)(B). The
   date USCIS receives the properly filed and complete asylum application is considered the date the
   asylum application is filed. 8 C.F.R. § 208.4(a)(2)(ii).



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           Ms. L. Settlement Class members may submit written requests for expedited processing of
   their asylum applications to the asylum office with jurisdiction over their asylum application,
   consistent with the guidance for making expedite requests for an asylum application at
   https://www.uscis.gov/forms/filing-guidance/how-to-make-an-expedite-request                  and
   https://www.uscis.gov/humanitarian/refugees-and-asylum/asylum/affirmative-asylum-interview-
   scheduling. Requests for expedited processing are considered on a case-by-case basis and in light
   of workload priorities. DHS will instruct the asylum offices to consider membership in the Ms. L.
   Settlement Class as a favorable factor in any requests to expedite the interview.

           USCIS will provide training to all relevant Asylum Division staff, including Asylum
   Officers, Training Officers, Supervisory Asylum Officers (SAOs), and relevant operational staff,
   on the Ms. L. litigation and the terms of this Settlement Agreement, and will remind officers of the
   relevant lesson plans to consult on issues potentially specific or germane to Ms. L. Settlement Class
   members. Among other topics, this training will address the unique and continuing effects of the
   trauma of forced family separation, which may affect Ms. L. Settlement Class members’ demeanor
   and/or the ability to recall traumatic facts during an asylum interview, CFI/RFI, and/or
   immigration court hearing. The guidance shall instruct that Asylum Officers should account for
   the unique trauma of family separation when assessing matters such as credibility and the level of
   detail and consistency it is reasonable to expect in an applicant’s testimony.

          The training will also include a summary of asylum statutes, regulations, and case law that
   may be relevant to potential Ms. L. Settlement Class members’ claims, including those claims
   involving a fear of persecution connected to forced family separation by the U.S. Government
   through the Zero Tolerance Policy and its associated policies and practices. The training will
   include a reminder to officers that Ms. L. Settlement Class members may present claims based on
   any of the five statutorily protected grounds, including membership in a particular social group
   (PSG). Whether Ms. L. Settlement Class members can establish past persecution or a well-founded
   fear of future persecution on account of membership in a PSG will depend on the factual
   circumstances that exist in the Ms. L. Settlement Class member’s country of citizenship and the
   Ms. L. Settlement Class member’s specific circumstances. Consistent with asylum law, the
   determination of whether a Ms. L. Settlement Class member has been persecuted or has a well-
   founded fear of future persecution on account of membership in a PSG must be conducted on an
   individualized basis, based on the particular facts presented in each case.

          Within 75 days of the filing of the motion for preliminary approval of the Settlement
   Agreement, USCIS will share the non-privileged portions of the training materials with Class
   Counsel, under any necessary protective orders. Class Counsel will then have 21 days to return
   comments and feedback on the training to the government. USCIS will take Class Counsel’s
   comments and feedback into consideration in finalizing the training and will share a final copy of
   the non-privileged portions of the training materials with Class Counsel.

           Ms. L. Settlement Class members’ affirmative asylum applications will be reviewed by a
   centralized group of SAOs or Asylum Officers detailed as SAOs, prior to any denial or referral to
   EOIR. Such officers will receive the training described above. In addition, USCIS Asylum
   Division Headquarters will conduct randomized pre-service review on a subset of Ms. L.
   Settlement Class members’ asylum application decisions (grants, denials, dismissals, and referrals

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   to EOIR) on a rolling basis and offer additional guidance and calibration sessions to the field as
   deemed appropriate following review of such cases.

          USCIS will identify the affirmative asylum applications filed by Ms. L. Settlement Class
   members pending before USCIS as of the final approval of the settlement, including affirmative
   applications filed by Ms. L. Settlement Class members over whom USCIS has initial jurisdiction
   as an Unaccompanied Child pursuant to 8 U.S.C. § 1158(b)(3)(C), INA § 208(b)(3)(C).
   Adjudication of such pending asylum applications will be governed by the procedures for USCIS
   asylum adjudications set forth in the Settlement Agreement.

           If USCIS denied or referred to EOIR a Ms. L. Settlement Class member’s affirmative
   asylum application prior to the Effective Date, USCIS will reopen the asylum application
   following the Ms. L. Settlement Class member’s request, subject to the deadlines specified in
   Section IV.C.3., and adjudicate the asylum application pursuant to the procedures for asylum
   adjudications set forth in this Settlement Agreement. This requirement does not apply to
   subsequent denials or referrals to EOIR of a Ms. L. Settlement Class member’s affirmative asylum
   application if the application was adjudicated pursuant to the procedures set forth in this Settlement
   Agreement. This paragraph includes Unfiled NTAs; see further information in Section IV.C.2.e.
   below. If the NTA was filed and docketed with the immigration court, the procedures set forth in
   Section IV.C.2.b. below will apply; USCIS will reopen and adjudicate such an asylum application
   after the Ms. L. Settlement Class member requests reopening from USCIS only if EOIR has
   dismissed or terminated the INA § 240 removal proceedings, consistent with Section IV.C.2.c,
   below. Additional and specific provisions concerning Ms. L. Settlement Class members in
   particular removal postures are set forth below.

              b. Dismissal or Termination, Recalendaring/Dismissal or Termination, and
                 Reopening/Dismissal or Termination of INA § 240 Removal Proceedings for Ms.
                 L. Settlement Class Members

            All requests for DHS to join or, where applicable, non-oppose motions or appeals discussed
   in this subsection will be adjudicated on a case-by-case basis. DHS’s decision whether to join or
   not oppose a motion may be influenced by information unknown to USCIS at the time of the parole
   adjudication or by the Ms. L. Settlement Class member’s actions after he or she was granted parole
   by USCIS, if applicable. DHS will ensure that the email addresses or mailboxes to be used for the
   submission of requests for DHS to join or not oppose motions discussed in this subsection are
   posted on its public facing page on ICE.gov, and will reference the required information to be
   included when submitting such requests (e.g., identifying in the subject line that the noncitizen is
   a Ms. L. Settlement Class member). DHS will endeavor to prioritize its review and handling of any
   properly submitted request, subject to any staffing or resource constraints.

           Ms. L. Settlement Class members requesting that USCIS reopen a previously denied or
   referred asylum application who are in INA § 240 removal proceedings, whose removal
   proceedings were not previously dismissed or terminated, may submit a request to the applicable
   ICE OPLA field location that DHS agree to the filing of a joint motion to dismiss or terminate or
   a joint motion to recalendar and dismiss or terminate the removal proceedings before the
   immigration judge or the Board of Immigration Appeals (BIA), where applicable. DHS will review

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   properly submitted requests on a case-by-case basis and agree to the filing of a joint motion to
   dismiss or terminate, or a joint motion to reopen and dismiss or terminate the INA § 240
   proceedings without prejudice if DHS determines that such action is appropriate as a matter of
   prosecutorial discretion. When determining if prosecutorial discretion is appropriate, DHS will
   take into consideration the fact that the individual is a Ms. L. Settlement Class member and was
   granted parole. DHS’s agreement to the filing of such motions will also be contingent on the Ms.
   L. Settlement Class member being neither potentially subject to nor having been found to be
   subject to a statutory bar to asylum pursuant to 8 U.S.C. § 1158(b)(2)(A)(i)-(v), INA §
   208(b)(2)(A)(i)-(v) due to information unknown to USCIS at the time of the parole adjudication
   or by the Ms. L. Settlement Class member’s actions after he or she was granted parole by USCIS.
   The immigration judge’s grant of a joint motion to dismiss or terminate shall not reflect an
   adjudication on the merits of the Ms. L. Settlement Class member’s removability.

            For Ms. L. Settlement Class members who are in consolidated INA § 240 removal
   proceedings with Qualifying Additional Family Members, the request submitted to DHS that it
   agree to the filing of a joint motion to dismiss or terminate, a non-opposition or joint motion to
   recalendar and dismiss or terminate, or a joint motion to reopen and dismiss or terminate INA §
   240 removal proceedings without prejudice may include Qualified Additional Family Members
   who are in the consolidated INA § 240 removal proceeding with the Ms. L. Settlement Class
   member. Any filings submitted to the Immigration Court must comply with EOIR, Imm Ct.
   Practice Manual, Ch. 5.1(a). To the extent the Ms. L. Settlement Class member’s INA § 240
   proceedings have a hearing date docketed before the immigration court before the deadlines set
   forth in Section IV.C.3, infra, DHS will review requests submitted no earlier than 90 days prior to
   the Ms. L. Settlement Class member’s scheduled master calendar or merits hearing on a case-by-
   case basis. DHS will review requests submitted by all other Ms. L. Settlement Class members as
   soon as practicable. DHS will agree to join or not oppose the filing of a motion to dismiss or
   terminate, or a motion to recalendar and dismiss or terminate, or a motion to reopen and dismiss
   or terminate that includes the Ms. L. Settlement Class members’ Qualifying Additional Family
   Members if DHS determines such action is appropriate as a matter of prosecutorial discretion.
   DHS’s agreement or non-opposition to the filing of such motions will also be contingent on the
   Ms. L. Settlement Class member and Qualifying Additional Family Member being neither
   potentially subject to nor having been found to be subject to a statutory bar to asylum pursuant to
   8 U.S.C. § 1158(b)(2)(A)(i)-(v), INA § 208(b)(2)(A)(i)-(v) due to information unknown to USCIS
   at the time of adjudication of the parole application or by the Ms. L. Settlement Class member’s or
   Qualified Additional Family Member’s actions after he or she was granted parole by USCIS. The
   immigration judge’s grant of a joint motion to dismiss or terminate shall not reflect an adjudication
   on the merits of the Ms. L. Settlement Class member’s or Qualifying Additional Family Member’s
   removability.

           The Immigration Court (or, in some instances, the BIA) has sole discretion whether to grant
   or deny such motions. The motion should explain that it is not in DHS’s interest to continue the
   case, because the individual is a Ms. L. Settlement Class member, and that dismissal or termination
   is being sought under this Settlement Agreement. Should an immigration judge deny a motion to
   dismiss or terminate or reopen an order under this provision, DHS will consider, on a case-by-case
   basis, joining or not opposing a motion to the Immigration Court to reconsider the denial and/or
   filing a statement of non-opposition in any appeal to the BIA of such a denial. EOIR will advise

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   adjudicators about the terms of this Settlement Agreement as it concerns EOIR and in a manner
   that is consistent with the independent judgment and discretion exercised by immigration judges
   and appellate immigration judges.

          Ms. L. Settlement Class members described in this Section who have a pending petition for
   review of their INA § 240 proceedings orders under 8 U.S.C. § 1252, INA § 242, should coordinate
   with Class Counsel and the Department of Justice (“DOJ”) attorney assigned to the petition for
   review, to ensure that the relevant circuit courts of appeals can enter appropriate orders remanding
   or dismissing the petitions. The Government’s expectation is that, absent unusual circumstances,
   DOJ will agree to a motion for remand or dismissal, if requested by the Ms. L. Settlement Class
   member.

          Requests to DHS to join motions to dismiss or terminate, reopen and dismiss or terminate,
   or remand from the BIA and dismiss or terminate INA § 240 proceedings under this Settlement
   Agreement must be submitted in accordance with the deadlines specified in Section IV.C.3.

              c. Procedures for Ms. L. Settlement Class Members with Terminated or Dismissed
                 INA § 240 Removal Proceedings Who Filed a Prior Asylum Application

          For those Ms. L. Settlement Class members:

                 i.   Whose INA § 240 proceedings are terminated or dismissed;
                ii.   Who already filed an asylum application directly with EOIR or with USCIS that
                      USCIS then referred or sent to EOIR (both referred to as a “prior asylum
                      application”); and
               iii.   Who subsequently properly file a new complete asylum application with USCIS
                      or request that USCIS reopen their prior asylum application subject to the
                      deadlines specified in Section IV.C.3:

          USCIS agrees:

                  •   To use the initial filing date of the prior asylum application, as defined above,
                      for purposes of affirmative asylum interview scheduling, and will apply the
                      scheduling priorities in place at the time of scheduling.
                  •   To use the initial filing date of the prior asylum application, as defined above,
                      for adjudicating EAD applications filed under 8 C.F.R. § 274a.12(c)(8)
                      (pending asylum applications), if the Ms. L. Settlement Class member seeks an
                      initial or renewal (c)(8) EAD after the new asylum application has been
                      completed and properly filed with USCIS or reopened by USCIS.
                  •   To inform EOIR that the individual is a Ms. L. Settlement Class member and is
                      entitled to any applicable relief under this Settlement Agreement when
                      subsequently referring Ms. L. Settlement Class members’ asylum applications
                      to EOIR for adjudication in INA § 240 proceedings, if applicable.




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           Ms. L. Settlement Class members described in this subsection must comply with any
   specific filing guidance or reopening procedures provided by USCIS for both the asylum
   application and EAD application.

          For purposes of this subsection, Section IV.C.2.c, the date USCIS receives the subsequent
   properly filed and complete asylum application or receives the request to reopen the prior asylum
   application is considered the date the asylum application is filed, or the date reopening is requested.

          For purposes of verifying immigration status information for benefit-granting agencies,
   and notwithstanding USCIS’s agreement above, the USCIS Systematic Alien Verification for
   Entitlements Program (SAVE) will not reflect that an asylum application is pending if a benefits-
   granting agency queries SAVE during the period between dismissal or termination of INA § 240
   proceedings and the date when the Ms. L. Settlement Class member properly files or requests
   reopening of an asylum application with USCIS pursuant to this Settlement Agreement.

              d. Procedures For Ms. L. Settlement Class Members Who Are in Expedited Removal
                 or Reinstatement Proceedings or Have Expedited or Reinstated Removal Orders

          Following the Effective Date, Ms. L. Settlement Class members who have:

                 i.   Pending expedited removal proceedings or reinstatement proceedings
                      (including those pending a credible fear determination or a reasonable fear
                      determination from USCIS, and those in withholding-only proceedings under 8
                      C.F.R. § 1208.2(c)(2)(i)); or
                ii.   Final expedited removal orders or reinstated orders of removal (including those
                      with a negative credible fear determination or negative reasonable fear
                      determination from USCIS or such determination that was affirmed by EOIR)

   may request the DHS component that issued the charging document or removal order to exercise
   its prosecutorial discretion to cancel the pending proceeding or rescind the removal order. DHS,
   upon conducting an individualized review, will grant the request if it determines that such action
   is appropriate as a matter of discretion and the Ms. L. Settlement Class member is neither
   potentially subject to nor been found to be subject to a statutory bar to asylum pursuant to 8 U.S.C.
   § 1158(b)(2)(A)(i)-(v), INA § 208(b)(2)(A)(i)-(v). DHS will ensure that the email addresses or
   mailboxes to be used for the submission of such requests are posted on its public facing websites,
   and will reference the required information to be included when submitting such requests (e.g.,
   identifying in the subject line of the email that the noncitizen is a Ms. L. Settlement Class member).
   DHS will endeavor to prioritize its review and handling of any properly submitted requests, subject
   to any staffing or resource constraints.

           For those Ms. L. Settlement Class members in withholding-only proceedings, upon
   rescission of the Ms. L. Settlement Class member’s reinstatement order, DHS will file, not oppose,
   or join a motion to terminate such proceedings before the Immigration Court or BIA.

          Upon rescission of the unexecuted reinstatement or expedited removal order, and, if
   applicable, termination of withholding-only proceedings, the Ms. L. Settlement Class member shall

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   have the opportunity to apply for asylum with USCIS pursuant to Section IV.C.2.a., above. Ms. L.
   Settlement Class members whose reinstated orders of removal have been rescinded may request
   that DHS join or not oppose a properly filed motion to reopen the prior removal order that served
   as the basis for the reinstated order and dismiss the removal proceeding in which that order was
   originally entered where: (1) the Ms. L. Settlement Class member was previously denied asylum
   in INA § 240 removal proceedings; (2) the Ms. L. Settlement Class member was not found to be
   subject to a statutory bar to asylum pursuant to 8 U.S.C. § 1158(b)(2)(A)(i)-(v), INA §
   208(b)(2)(A)(i)-(v); (3) the prior asylum application was denied after the separation that renders
   the noncitizen a Ms. L. Settlement Class member occurred; and (4) DHS determines such action is
   appropriate as a matter of prosecutorial discretion. Requests will be adjudicated on a case-by-case
   basis, and approval or agreement may by affected due to information unknown to USCIS at the
   time of parole adjudication or actions since the individual was granted parole by USCIS.

              e. Procedures for Ms. L. Settlement Class Members with an Unfiled NTA

           USCIS will adjudicate asylum applications for Ms. L. Settlement Class members filed
   pursuant to the terms of this Settlement Agreement if USCIS has jurisdiction over the application
   pursuant to 8 C.F.R. § 208.2(a), notwithstanding the existence of an Unfiled NTA. However, Ms.
   L. Settlement Class members with an Unfiled NTA as of the Effective Date of the Settlement
   Agreement may request that the DHS component that issued the NTA exercise its prosecutorial
   discretion to cancel the NTA. The DHS component, upon conducting an individualized review,
   will grant the request and cancel the NTA if it determines that such action is appropriate as a matter
   of discretion and that the Ms. L. Settlement Class member is neither potentially subject to nor been
   found to be subject to a statutory bar to asylum pursuant to 8 U.S.C. § 1158(b)(2)(A)(i)-(v), INA
   § 208(b)(2)(A)(i)-(v). Cancellation of the NTA is not guaranteed and may be affected due to
   information unknown to USCIS at the time of parole adjudication under the terms of this
   Settlement Agreement or actions since the individual was granted parole, if at all, by USCIS.

              f. Provision of Procedural Protections for Ms. L. Settlement Class Members in
                 Pending 240 Removal Proceedings

          EOIR will be advised concerning the rights of Ms. L. Settlement Class members under this
   Settlement Agreement as they pertain to EOIR. For Ms. L. Settlement Class members in INA §
   240 removal proceedings who elect to proceed with their asylum claims in immigration court in
   lieu of seeking termination or dismissal of their removal proceedings under this Settlement
   Agreement, and who have pending asylum applications that were properly filed with the
   immigration court on or before the two years after their Settlement Class Member Confirmation
   Date, shall qualify for an extraordinary circumstances exception under 8 U.S.C. § 1158(a)(2)(D),
   INA § 208(a)(2)(D); 8 C.F.R. §§ 208.4(a)(5), 1208.4(a)(5) and will be found to have filed their
   asylum applications within a reasonable period given the circumstances under 8 C.F.R. §§
   208.4(a)(5), 1208.4(a)(5) for purposes of the statutory one-year filing deadline requirement under
   8 U.S.C. § 1158(a)(2)(B), INA § 208(a)(2)(B).




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          3. Deadlines for Seeking Relief Under this Settlement Agreement

              a. Deadline for Submission of Requests to Join or Non-oppose Motions to Dismiss or
                 Terminate, Reopen and Dismiss or Terminate, or Remand and Dismiss or
                 Terminate Removal Proceedings, Requests to Cancel Pending Expedited Removal
                 and Reinstatement Proceedings, Requests to Rescind Expedited Removal and
                 Reinstated Orders of Removal, and Requests to Cancel Unfiled NTAs

          Ms. L. Settlement Class members seeking dismissal, administrative closure, continuance,
   termination, or reopening and dismissal or termination of their INA § 240 removal proceedings
   pursuant to Section IV.C.2.b. must submit their request to join or non-oppose their motion to ICE
   OPLA for consideration no later than two years after their Settlement Class Member Confirmation
   Date. Ms. L. Settlement Class members seeking cancellation of expedited removal or reinstatement
   proceedings, rescission of expedited removal or reinstated orders of removal, or cancellation of an
   Unfiled NTA pursuant to the provisions of this Settlement Agreement must submit their motion
   or request no later than two years after their Settlement Class Member Confirmation Date.

              b. Deadlines for Submission of Asylum Application with USCIS or to Request
                 Reopening of a Prior Asylum Application

          To obtain benefits pursuant to this Section IV.C.2.:

                 i.   Ms. L. Settlement Class members who are filing motions to dismiss, terminate,
                      or reopen and dismiss removal proceedings before EOIR pursuant to Section
                      IV.C.2.b. must properly file a complete asylum application with USCIS or
                      request that USCIS reopen their prior asylum application no later than one year
                      after the date EOIR dismisses or terminates the Ms. L. Settlement Class
                      member’s removal proceedings;
                ii.   Ms. L. Settlement Class members who are submitting requests to DHS to cancel
                      pending expedited removal or reinstatement proceedings, or rescind a
                      reinstatement or expedited removal order, pursuant to Section IV.C.2.d., must
                      properly file a complete asylum application with USCIS or request that USCIS
                      reopen a prior asylum application no later than one year after the date DHS
                      cancels the pending expedited removal or reinstatement proceedings, or
                      rescinds the expedited removal or reinstatement order;
               iii.   Ms. L. Settlement Class members whose prior asylum application was denied
                      by USCIS prior to the Effective Date must request that USCIS reopen their prior
                      asylum application no later than one year after their Settlement Class Member
                      Confirmation Date. This requirement does not apply to subsequent denials or
                      referrals to EOIR of a Ms. L. Settlement Class member’s affirmative asylum
                      application if the application was adjudicated pursuant to the procedures set
                      forth in this Settlement Agreement; and
               iv.    Ms. L. Settlement Class members who do not require further action by DHS or
                      EOIR before they can apply affirmatively for asylum before USCIS (e.g., they
                      are not subject to INA § 240 removal proceedings, expedited removal or
                      reinstatement proceedings, an expedited removal order or reinstated order of

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                      removal, or are unaccompanied children filing pursuant to 8 U.S.C. §
                      1158(b)(3)(C), INA § 208(b)(3)(C), over whom USCIS has initial jurisdiction),
                      including Ms. L. Settlement Class members who have an Unfiled NTA or whose
                      removal orders have been executed and they subsequently returned to United
                      States via parole or were admitted in a lawful status, must properly file a
                      complete asylum application with USCIS no later than one year after their
                      Settlement Class Member Confirmation Date.
                v.    For Ms. L. Settlement Class members who are outside the United States as of
                      the time of their Settlement Class Member Confirmation Date, in order to have
                      their asylum application adjudicated under the terms of this section, the Ms. L.
                      Settlement Class member must properly file a complete asylum application with
                      USCIS no later than one year after the date of their parole or lawful admission
                      to the United States or before the Termination Date, whichever is earlier.

          A Ms. L. Settlement Class member's asylum application that is filed with USCIS by the
   deadlines specified in this section will continue to be governed by procedures set forth in Section
   IV.C.2.a., even if the asylum application is pending on the Termination Date. Subsequent asylum
   applications filed by Ms. L. Settlement Class members will not be governed by this Settlement
   Agreement.

          For purposes of this Settlement Agreement, the date USCIS receives the properly filed and
   complete asylum application or receives the request to reopen the prior asylum application is
   considered the date the asylum application is filed, or the date reopening is requested.

   V. Future Separations

      A. This Section (Future Separations) will apply only to noncitizen parents and Legal
         Guardians who are apprehended or encountered at the Border, and whose minor noncitizen
         children are separated from them and held in ORR or DHS custody after the Effective Date.
         The Reunification provisions of this Section will also govern separations that occurred
         between January 20, 2021 and the Effective Date where the noncitizen parent or Legal
         Guardian has not been reunified with their noncitizen child(ren) before the Effective Date.
         This Settlement Agreement does not apply to noncitizen parents and Legal Guardians who
         are apprehended by DHS in the interior of the United States.

      B. DHS is committed to protecting family unity by ensuring that noncitizen children in DHS
         custody are not separated from their accompanying noncitizen parent or Legal Guardian,
         except in limited permissible circumstances as detailed below. CBP will not transfer a
         family to ICE and ICE will not seek or complete a transfer for the purpose of effectuating
         a separation that could not otherwise be carried out under this Settlement Agreement. If a
         family is transferred from CBP to ICE for processing, ICE shall not separate the family in
         any manner that would be inconsistent with the terms of this Settlement Agreement if it
         had been done by CBP, and will create the documentation regarding the separation as set
         forth in Section V.K.1.a below.




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     C. The limited permissible circumstances for separation are the following:

        1. CBP determines that the child or accompanying parent or Legal Guardian presents a
           public safety or national security risk to the United States as defined in Section V.D.
           below, and indicates the reason for separation is national security or public safety at
           the time of separation, if permitted;
        2. the parent or Legal Guardian is taken into custody by another law enforcement entity
           to serve as a material witness in circumstances that make it impossible or unsafe for
           the child to remain with the parent or Legal Guardian;
        3. the parent or Legal Guardian poses a threat to the safety of the child, as defined in
           Section V.H. below, and CBP documents that risk at the time of separation;
        4. the parent or Legal Guardian is the subject of an active federal, state, or local warrant,
           for which the relevant authority takes active steps to extradite the parent or Legal
           Guardian;
        5. the parent or Legal Guardian is referred for prosecution for a felony (other than for
           immigration related prosecution based on illegal reentry or prior removals). Where no
           other permissible circumstances for separation are present, CBP will not refer an adult
           for prosecution solely under 8 U.S.C. § 1325(a) if the adult is traveling with a minor,
           is the minor’s parent or Legal Guardian, and is the only parent or Legal Guardian
           traveling with the child;
        6. the parent, Legal Guardian, or the child requires hospitalization or outside medical care;
        7. or when otherwise required by law.

     D. National security and public safety risks shall be determined in relation to the specific
        circumstances of the individual. They will include, but are not limited to, an individual:
        who is determined to have engaged in or is suspected of terrorism, espionage, or terrorism-
        related or espionage-related activities; has been convicted of a violent felony and is deemed
        to pose an ongoing threat to public safety; or where a determination has been made that the
        parent or Legal Guardian is subject to a mandatory detention statute prohibiting release
        because of terrorism grounds or a criminal offense such as INA §§ 236(c) or 241(a)(2).
        Where national security and/or public safety risks are the basis of separation, CBP shall
        document that the reason for separation is national security and/or public safety at the time
        of separation or within a reasonable time afterward, to the extent such documentation does
        not require disclosing national security or sensitive information prohibited from disclosure
        by law.

     E. When criminal history is the basis for separation and the individual is not subject to
        mandatory detention as described in Section V.D., CBP will consider the length of time
        since the arrest or conviction before separating a parent or legal guardian from the child.
        This does not apply to national security concerns.

     F. When considering information from foreign databases as the basis for separation, CBP will
        also consider any countervailing information provided on the individual’s behalf.

     G. In material witness determinations, DOJ shall, in cooperation with other agencies and
        where practicable, make every effort to seek to avoid detention of a parent or Legal


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          Guardian who is alleged to be a material witness if such detention would result in
          separating them from their child.

      H. A threat to the safety of a child shall be defined as a threat to life or health to the extent
         that injury or harm may be likely if the child were returned to or left in the custody of his
         or her parent or Legal Guardian. CBP shall evaluate any threat to the safety of a child on a
         case-by-case basis and may not employ a presumption of a threat to the safety of a child,
         based on a parent or Legal Guardian’s past criminal or immigration history.

      I. After consultation with HHS, CBP will develop standardized guidance and ensure that
         agents and officers follow the guidance when determining whether the parent or Legal
         Guardian poses a risk to the safety of the child. This guidance will be developed in
         coordination with and subject to the approval of the DHS Chief Medical Officer.

      J. Training and guidance will be provided to all CBP agents and officers and supervisors who
         may be involved in separating a parent or Legal Guardian from their child which fully
         explains the new requirements in this settlement and makes clear that a parent or Legal
         Guardian shall not be separated from his/her/their child based solely on the parent or Legal
         Guardian’s immigration history, including prior removals.

      K. Defendants shall employ the following processes and procedures to ensure that family
         unity is maintained to the greatest extent possible when a parent or Legal Guardian and his
         or her child are separated. To the extent possible, information provided to the parent, Legal
         Guardian, or child under this section pertaining to the reason for the separation, the process
         for contesting the separation, or communication between the parent or Legal Guardian and
         the child shall be communicated in the language that the parent, Legal Guardian, or child
         best understands, using an interpreter or translation if necessary:

          1. Procedures at Initial Separation

              a. Initial internal documentation

           CBP shall document the separation in its electronic systems of records. Such
   documentation shall include the fact of separation, the reason for separation, including facts
   specific to the separated individual which, in the discretion of the agency, explain the separation,
   to the extent such documentation does not require disclosing national security or sensitive
   information prohibited from disclosure by law, and known biographic (including A numbers) and
   location information of the separated parent(s) or Legal Guardian(s) and separated child(ren). CBP
   will include relevant documents supporting the decision to separate in the A-file of the separated
   child(ren) and separated parent or Legal Guardian.

              b.        Information disclosures to separated parents, Legal Guardians, and children

                   i.     At the time of a separation, CBP shall provide a written explanation to the
                          parent or Legal Guardian of what is occurring, and next steps, including the

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                   reason(s) for the separation, including facts specific to the separated individual,
                   which in the discretion of the agency, explain the separation, to the extent such
                   documentation does not require disclosing national security or sensitive
                   information prohibited from disclosure by law. The written explanation must
                   also include information on how the parent or Legal Guardian can submit
                   additional information to ICE regarding their separation using the Family
                   Separation Supplemental Information Form (FSSIF) or successor forms, see
                   Section V.K.3.c.i., or to HHS where relevant to parentage determinations, see
                   Section V.K.3.d.ii, as well as contact information for making a complaint to the
                   DHS Office for Civil Rights and Civil Liberties and the DHS and DOJ Offices
                   of the Inspector General. DHS shall provide the parent with a copy of the
                   FSSIF. The FRTF will also post the FSSIF on its DHS website. The FSSIF shall
                   not require a parent or Legal Guardian to provide the reason they were
                   separated.

             ii.   If a U.S. citizen child accompanies a noncitizen parent or Legal Guardian who
                   enters CBP’s custody at the Border and CBP refers the child to a state or local
                   agency, CBP will endeavor to inform the noncitizen parent of the state and local
                   entity where the child went and any known contact information for the agency.
                   CBP will endeavor to inform any state or local agency, at the time that the child
                   is referred, that the child was separated from their parent.

            iii.   HHS will create a one-pager explanation for CBP to provide to the separated
                   parent or Legal Guardian and separated child at the time of separation. The
                   one-pager will include notice that the child will be placed with an ORR care
                   provider until reunification with the parent or Legal Guardian or release to
                   another relative or other approved sponsor; that the child will be referred for the
                   appointment of a child advocate; that the child will receive a Know Your Rights
                   presentation and legal screening within 10 business days of entering ORR
                   custody; and that federal agencies shall facilitate communication between
                   children and their separated parent or Legal Guardian while the child is in ORR
                   custody. HHS will ensure that the one-page explanation is age-appropriate for
                   the child.

        2. Government information sharing related to any separation of a parent or Legal
           Guardian from his or her child

           a. CBP shall work with HHS and ICE to ensure that, consistent with information
              sharing agreements and legal obligations, HHS and ICE are provided the
              documents needed for operational purposes (e.g., criminal records, conviction
              documents, identity documents).

           b. Defendants will ensure that the information specified in Sections V.K.2.(c) through
              (e) below is available to agencies identified in those Sections that may take custody
              of a separated parent, Legal Guardian, or child (whether it is made available through
              a shared database or other method of information exchange between agencies), so

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                  that each agency has the information it needs to track a parent or Legal Guardian
                  and his or her separated child, to identify when reunification is appropriate, and to
                  facilitate such reunification.

              c. Information that will be made available to ORR

           The following information shall be provided or made available to ORR at the time of the
   child’s transfer or, in extraordinary circumstances, no later than three business days after the
   child’s transfer. Within three business days after receiving the following information, ORR shall
   provide such information to the facility where the child is being held; the child’s attorney of record
   and/or accredited representative as defined in 8 C.F.R. § 1292.1(a)(4), who has submitted Form L-
   3, Notice of Attorney Representation, to ORR, and to any Child Advocate appointed under 8
   U.S.C. § 1232(c)(6). ORR shall provide information made available to ORR under this Section to
   an ORR contracted legal service provider who is not the child’s attorney of record if ORR
   determines that the child does not have an attorney or accredited representative of record:

                 i.   The fact that a child transferred to ORR custody was separated from a parent or
                      Legal Guardian, as set out in Section V.K.1.a;

                ii.   The location to which the parent or Legal Guardian was initially transferred,
                      and updates within 72 hours of the parent or Legal Guardian’s transfer to
                      another location;

               iii.   The reason for the separation, including facts specific to the separated
                      individual which, in the discretion of the agency, explain the separation, to the
                      extent such documentation does not require disclosing national security or
                      sensitive information prohibited from disclosure by law;

                iv.   Any available contact information for the parent or Legal Guardian, including
                      any contact information to reach the parent or Legal Guardian at their current
                      detention facility, updated 72 hours after they are transferred to a new facility;
                      and

                v.    DHS and HHS shall work together to ensure that HHS has information needed
                      for HHS operations, including information about a trusted third party, if a parent
                      or Legal Guardian chooses to designate such a trusted third party to receive
                      information about their location and their child’s location, see Section V.K.1.g.

              d. Information that will be provided or made available to ICE

                 i.   The fact that a parent or Legal Guardian transferred to ICE custody was
                      separated from his or her child;

                ii.   Known biographical information for the separated parent or Legal Guardian and
                      the separated child;


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            iii.   The reason for the separation, including facts specific to the separated
                   individual which, in the discretion of the agency, explain the separation, to the
                   extent such documentation does not require disclosing national security or
                   sensitive information prohibited from disclosure by law; and

            iv.    The location where the child is being held if the child is in ORR custody,
                   including updated location information within 24 hours of any transfer of the
                   child within ORR custody, and information on how the parent or Legal
                   Guardian may contact the child, including contact information for the child’s
                   assigned case manager, the child’s attorney of record and/or accredited
                   representative as defined in 8 C.F.R. § 1292.1(a)(4) who has submitted Form
                   L-3, Notice of Attorney Representation, to ORR, and any Child Advocate
                   appointed under 8 U.S.C. § 1232(c)(6). ORR shall provide the contact
                   information for an ORR contracted legal service provider who is not the child’s
                   attorney of record if ORR determines that the child does not have an attorney
                   or accredited representative of record.

           e. In cases in which a separated parent or Legal Guardian is referred to the custody of
              the U.S. Marshals Service (USMS), information that will be provided or made
              available to USMS

              i.   The fact that a parent or Legal Guardian transferred to USMS custody was
                   separated from his or her child;

             ii.   The reason for the separation; and

            iii.   The location where the child is being held if the child is in ORR custody,
                   including updated location information within 24 hours of any transfer of the
                   child within ORR custody, and information on how the parent or Legal
                   Guardian may contact the child including contact information for the child’s
                   assigned case manager, the child’s attorney of record and/or accredited
                   representative as defined in 8 C.F.R. § 1292.1(a)(4) who has submitted Form
                   L-3, Notice of Attorney Representation, to ORR, and any Child Advocate
                   appointed under 8 U.S.C. § 1232(c)(6). ORR shall provide the contact
                   information for an ORR contracted legal service provider who is not the child’s
                   attorney of record if ORR determines that the child does not have an attorney
                   or accredited representative of record.

           f. In cases in which a separated parent or Legal Guardian is in the custody of a state
              or local agency, information that CBP will endeavor to provide or make available
              to that agency:

              i.   The fact that a parent or Legal Guardian transferred to that agency’s custody
                   was separated from their child; and


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             ii.   If the child is in ORR custody, information on how the parent or Legal
                   Guardian may contact the child.

           g. HHS and ICE shall develop procedures by which a parent or Legal Guardian may
              make a singular notification designating one trusted third-party individual, who is
              not in ICE custody, to be kept updated promptly by HHS and ICE, as appropriate,
              any time the location of the separated parent or Legal Guardian or the separated
              child changes while in ICE or HHS custody, respectively. For a parent or Legal
              Guardian in ICE custody, ICE will notify the third-party individual regarding
              changes in the location of custody of the parent or Legal Guardian. For a child in
              ORR custody, ORR will update the third-party individual regarding changes in the
              location of the child if ORR has current contact information for the third-party
              individual.

        3. Additional Procedures following the Initial Separation

           a. Outside of lawful seizures of fraudulent documents or other evidence of criminal
              activity, in no circumstance shall any employee of DHS confiscate and fail to return
              a parent, Legal Guardian, or child’s documents that might be relevant to showing
              the family relationship. DHS shall make reasonable efforts, in a manner within its
              discretion, to authenticate presented documents prior to separation and shall ensure
              the prompt return of documents believed not to be fraudulent upon confirmation of
              parentage.

           b. HHS will determine what information provided by DHS about the separation can
              be provided to the child in an age-appropriate and trauma-informed way. HHS will
              refer every separated child admitted to ORR custody for appointment of a child
              advocate, who will have been alerted that the child was separated from a parent or
              Legal Guardian pursuant to Section V.K.2.c.

           c. Submission of additional information to ICE and processes for facilitating contact
              with children:

              i.   A separated parent or Legal Guardian in ICE custody can submit additional
                   information to ICE regarding their separation using the FSSIF. FSSIFs will be
                   made available to ICE detainees in all detainee housing units and the FRTF will
                   post the FSSIF on its DHS website. ICE ERO Field Offices will collect
                   completed FSSIFs, and any supporting documentation, in the same manner as
                   a traditional Detainee Request Form. ICE officers are required to email the
                   FSSIFs and supporting documentation to a dedicated email address specific to
                   this process as soon as practicable, but in any event within 7 business days. A
                   separated parent or Legal Guardian may submit subsequent FSSIFs if they are
                   providing new information.

             ii.   A separated child can submit additional information to ORR regarding their
                   separation and ORR will update the child’s ORR case file with that information.
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                      ORR will also provide the updated information to the child’s attorney of record
                      and/or accredited representative as defined in 8 C.F.R. § 1292.1(a)(4), who has
                      submitted Form L-3, Notice of Attorney Representation to ORR, or to an ORR
                      contracted legal service provider who is not the child’s attorney of record if
                      ORR determines that the child does not have an attorney or accredited
                      representative of record; and to any Child Advocate appointed under 8 U.S.C.
                      § 1232(c)(6). Any update provided by the child may be conveyed to ICE by the
                      child’s attorney of record or, in the absence of an attorney of record, the
                      contracted legal services provider if the child consents. If the child is not
                      represented by an attorney of record, then the child advocate may provide
                      updates to ICE when the child advocate determines that sharing such
                      information with ICE would be in the child’s best interest and the child
                      consents.

               iii.   ICE shall post fliers in all of its detention facilities to explain how parents and
                      Legal Guardians can request to contact their children or provide supplemental
                      information regarding the basis of their separation, or submit a complaint to the
                      DHS Office for Civil Rights and Civil Liberties and/or the DHS Office of the
                      Inspector General, or contact Class Counsel by mail.

               iv.    ICE shall maintain a direct email inbox for legal representatives of separated
                      parents or legal guardians in ICE or USMS custody to provide the FSSIF
                      directly to ICE. The FRTF will post the FSSIF on its DHS website along with
                      the email address. For individuals in ICE custody, ICE shall respond to inquiries
                      within 72 hours. Individuals who submit the form while in USMS custody may
                      be asked to re-submit the form if transferred to ICE custody.

                v.    The USMS and ORR will enter into a Memorandum of Understanding (MOU)
                      to establish an internal tracking system and procedures between the agencies to
                      facilitate communication and reunification between a separated parent or Legal
                      Guardian in USMS custody and their child(ren) who are in ORR custody. That
                      MOU shall include a requirement that the USMS will alert ORR when a
                      separated parent or Legal Guardian transfers out of USMS custody and, upon
                      transfer, the location to which the parent or Legal Guardian has been
                      transferred, unless restricted from doing so for detainee safety, security, or other
                      related concerns. In no case shall a parent or Legal Guardian’s transfer out of
                      USMS custody be delayed because of this notification requirement.

              d. Separations due to non-parentage

           DHS must justify the separation of a child and adult on the basis that the adult is not the
   parent or Legal Guardian of the child and must investigate and verify the non-parental relationship
   before any separation, which may include contacting the relevant consulate for the child and adult.
   Where DHS believes the adult is not the child’s biological parent, it must offer to conduct a DNA
   test, with the consent of the adult, and receive and communicate the results to the parent prior to
   any separation. If any adult believes that DHS’s determination that he or she is not the parent or

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   Legal Guardian of a separated child was in error, he or she can challenge the determination as
   follows:

                i.   If the adult is in ICE custody, he or she can submit additional information to
                     ICE using the procedure in Section V.K.3.c.i. ICE must consider and respond
                     to such additional information, and communicate its response to the separated
                     parent or Legal Guardian, within 14 business days. If it is determined that the
                     adult is the parent or Legal Guardian of the child and there is no other basis for
                     continued separation, then ICE will coordinate with HHS to facilitate
                     reunification if the child remains in HHS custody, under the streamlined Ms. L.
                     process. Should HHS decline to facilitate reunification due to an alleged
                     substantial child safety risk or alleged incapacity of the parent or Legal
                     Guardian, HHS must provide the parent or Legal Guardian or his or her
                     representative with a Notification of Denial letter (as laid out in ORR Policy
                     Guide Section 2.7.7 (Notification of Denial)) and instructions on the appeal
                     process pursuant to ORR Policy Guide Section 2.7.8 (Appeal of Release
                     Denial). If the child is released from ORR custody to a sponsor, ICE will
                     consider alternatives to detention for the parent or Legal Guardian to facilitate
                     reunification. At the time of the child’s release to a sponsor, ORR will also
                     provide the sponsor information to the parent in ICE’s legal custody. If
                     parentage is determined after the child has been released from ORR custody
                     and the parent is still in ICE custody, ORR will provide information at that time
                     to the parent, for the purpose of facilitating reunification, concerning the
                     sponsor to whom the child was released. If parentage is determined after the
                     parent is no longer in ICE custody, and the parent contacts ORR, ORR will
                     provide information at that time to the parent concerning the sponsor to whom
                     the child was released. A copy of this information will also be sent to the
                     parent’s attorney (if ORR has the attorney’s contact information) and the child’s
                     attorney (if they have one) or legal services provider (LSP).

               ii.   If the adult is not in ICE custody, he or she can submit evidence of parentage to
                     HHS in the manner described in the written explanation provided to the adult
                     upon separation, see Section V.K.1.b.i. If HHS determines that the adult is the
                     parent or Legal Guardian of the child, then HHS shall facilitate reunification
                     under the streamlined Ms. L. process unless there exists a child safety risk as
                     defined in Section V.H., or the child or the parent or Legal Guardian is
                     unavailable due to criminal custody or incapacity, is not physically present in
                     the United States, or declines reunification. Should HHS decline to facilitate
                     reunification due to an alleged substantial child safety risk or alleged incapacity
                     of the parent or Legal Guardian, HHS must provide the parent or Legal
                     Guardian or his or her representative with a Notification of Denial letter (as laid
                     out in ORR Policy Guide Section 2.7.7 (Notification of Denial)) and
                     instructions on the appeal process pursuant to ORR Policy Guide Section 2.7.8
                     (Appeal of Release Denial).




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              e. Separations due to the transfer of the parent or Legal Guardian to criminal custody
                 based on an active warrant or because the individual is being held as a material
                 witness:

                 i.   If a parent or Legal Guardian is transferred to criminal custody based on an
                      active warrant or because the individual is being held as a material witness, as
                      described in Section V.G. above, the child will be transferred to HHS. Absent
                      an independent basis for separation, a parent or Legal Guardian who is returned
                      to DHS custody at the end of their criminal custody shall be reunified with his
                      or her child.

                ii.   In such cases HHS shall facilitate reunification of the child under the
                      streamlined Ms. L. process unless there exists a child safety risk as defined in
                      Section V.H. or the child or the parent or Legal Guardian is unavailable due to
                      incapacity, is not physically present in the United States, or declines
                      reunification. Should HHS decline to facilitate reunification due to an alleged
                      substantial child safety risk or alleged incapacity of the parent or Legal
                      Guardian, HHS must provide the parent or Legal Guardian or his or her
                      representative with a Notification of Denial letter (as laid out in ORR Policy
                      Guide Section 2.7.7 (Notification of Denial)) and instructions on the appeal
                      process pursuant to ORR Policy Guide Section 2.7.8 (Appeal of Release
                      Denial).

              f. Separations due to hospitalization or outside medical care

            If a parent or Legal Guardian is separated from his or her child due to the hospitalization
   or need for outside medical care of a parent, Legal Guardian, and/or child, and there are no other
   grounds for separation, the parent or Legal Guardian will be entitled to reunification with his or
   her child once the family member is released from the hospital. Any decision that the child(ren)
   and parent or Legal Guardian cannot remain together shall be based on the needs, policies, and/or
   restrictions of the hospital or other care facility where the parent, Legal Guardian, and/or child is
   receiving care. Any separated child shall be placed in an ORR facility as close as possible to where
   the parent or Legal Guardian is receiving medical care if ORR has sufficient beds available within
   the demographic area to accommodate the child. When the family member is released from
   medical care, DHS and HHS will work to facilitate reunification under the streamlined Ms. L.
   process if the child is in ORR custody and the parent or Legal Guardian is in DHS custody, absent
   an independent reason to separate. Should HHS decline to facilitate reunification due to an alleged
   substantial child safety risk or alleged incapacity of the parent or Legal Guardian, HHS must
   provide the parent or Legal Guardian or his or her representative with a Notification of Denial
   letter (as laid out in ORR Policy Guide Section 2.7.7 (Notification of Denial)) and instructions on
   the appeal process pursuant to ORR Policy Guide Section 2.7.8 (Appeal of Release Denial). If the
   child will be released from ORR custody to an approved sponsor before the parent is released from
   DHS custody, ORR shall notify the hospitalized parent of the child's intended sponsor and plans
   for release and reunification with the sponsor, as well as the sponsor's address and contact
   information.



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              g. Separations for any other reason that does not preclude future eligibility for
                 reunification

            If DHS determines that continued separation of a previously-separated parent or Legal
   Guardian who is in DHS custody is no longer warranted, DHS will coordinate with HHS to
   facilitate reunification under the streamlined Ms. L. process if the child remains in HHS custody.
   Should HHS decline to facilitate reunification due to an alleged substantial child safety risk or
   alleged incapacity of the parent or Legal Guardian, HHS must provide the parent or Legal Guardian
   or his or her representative with a Notification of Denial letter (as laid out in ORR Policy Guide
   Section 2.7.7 (Notification of Denial)) and instructions on the appeal process pursuant to ORR
   Policy Guide Section 2.7.8 (Appeal of Release Denial).

              h. Removal

            If a separated parent or Legal Guardian who has been in custody throughout the pendency
   of their removal proceedings has not been reunified with his or her separated child at the time he
   or she is being removed from the United States, and there are no legal prohibitions or risk to the
   child as defined in Section V.H., ICE shall offer the parent or Legal Guardian the opportunity to
   be removed with his or her child as set forth below.

                 i.   ICE will provide the Notice of Potential Rights Form, or its successor forms, to
                      the separated parent or Legal Guardian when he or she enters ICE custody. If
                      reunification is requested, ICE shall notify HHS, through a dedicated ORR
                      mailbox, of the request as soon as is operationally feasible and, in any event,
                      within three business days of when the separated parent signs the form and
                      informs ICE of the decision. If the separated parent or Legal Guardian is
                      released from ICE custody after he or she signs the Notice of Potential Rights
                      Form, ICE shall notify HHS of the release, and the procedures in this subsection
                      (h) (Removal) will no longer apply and ICE will follow its normal policies and
                      procedures.

                ii.   If the child is in HHS custody, then HHS shall notify any attorney for the child
                      or legal services provider at the child’s shelter and any appointed child advocate
                      within one business day of receiving the request for reunification. Within seven
                      business days of receiving that request, the child will notify HHS through their
                      representative, and HHS will notify ICE within one business day, whether the
                      child prefers to be removed with their parent or Legal Guardian, objects to
                      removal with their parent or Legal Guardian, or needs more time to make the
                      decision. If the child needs more time to make a decision, including any
                      discussion with the parent or Legal Guardian, the child shall be provided an
                      additional seven business days in which to make their decision. Unless
                      operationally infeasible, ICE shall not remove the parent or Legal Guardian
                      prior to expiration of the relevant time period specified here. Where the child
                      makes or changes their decision after the relevant time period but before
                      removal and a delay in removal will not result, ICE, in its discretion, may, but
                      will have no obligation to, consider such decision.

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            iii.   Where the child has been released from HHS custody, HHS shall notify any
                   attorney for the child on record with ORR and any appointed child advocate
                   within one business day of being notified of the pending removal. If the child
                   is no longer in HHS custody, the child may make any objection to removal to
                   their attorney of record or appointed child advocate. Within seven business days
                   of receiving notice, the attorney or child advocate may convey that the child
                   agrees to removal, objects to removal, or needs more time to make the decision.
                   If the child needs more time, the child shall be provided an additional seven
                   business days in which to make their decision. Unless operationally infeasible,
                   ICE shall not remove the parent or Legal Guardian prior to expiration of the
                   relevant time period specified here. Where the child makes or changes their
                   decision after the relevant time period but before removal and a delay in
                   removal will not result, ICE, in its discretion, may, but will have no obligation
                   to, consider such decision.

            iv.    If the child in ORR custody elects to be removed with the parent or Legal
                   Guardian, ICE shall expeditiously coordinate with HHS to accomplish the
                   reunification of the parent or Legal Guardian and child as is operationally
                   feasible prior to the removal of the parent or Legal Guardian and child, as
                   described above.

        4. Communication between a separated parent or Legal Guardian and their child

           a. The government will take the following steps to facilitate communication between
              a separated parent or Legal Guardian and their child:

              i.   When the parent or Legal Guardian is in ICE custody and the child is in HHS
                   custody, designated ICE field office points of contact will help facilitate
                   communication between parent(s) or Legal Guardian(s) and children with the
                   ORR case managers. If the child is in the custody of a state or local agency,
                   designated ICE field office points of contact will attempt to facilitate
                   communication between the child and parent(s) or Legal Guardian(s) when
                   practical and legally permissible.

             ii.   When the parent or Legal Guardian is in USMS custody and the child is in HHS
                   custody, designated USMS field office points of contact will help facilitate
                   communication between parent(s) or Legal Guardian(s) and children with the
                   ORR case managers. If the child is in the custody of a state or local agency,
                   USMS will endeavor to assist the parent or Legal Guardian to facilitate
                   communication with their child, consistent with federal, state, or local laws and
                   policies that govern the facility where the parent or Legal Guardian is detained,
                   and subject to operational or administrative feasibility.

            iii.   When the parent or Legal Guardian is in the custody of a state or local agency
                   and the child is in HHS custody, designated HHS points of contact will help

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                    attempt to facilitate communication between children and parent(s) or Legal
                    Guardian(s).

              iv.   ICE and USMS shall offer separated parents or Legal Guardians information
                    about how to request telephone contact with their separated child(ren).

               v.   ORR shall offer separated children information about how to request telephone
                    contact with their parent or Legal Guardian.

              vi.   Contact between parents or Legal Guardians and their children shall be free of
                    cost, meaning that in no case shall contact be denied because the separated
                    parent or Legal Guardian lacks funds in their account to make calls.

             vii.   ICE and ORR shall coordinate to facilitate contact between a parent or Legal
                    Guardian and their child within 48 hours of the child arriving to the ORR care
                    provider. USMS shall coordinate with ORR to facilitate contact between a
                    parent or Legal Guardian and their child upon the parent or Legal Guardian
                    arriving in USMS custody. The frequency and mode of communication will be
                    coordinated between the facility where the parent or Legal Guardian is being
                    held and ORR based on the availability of the parent or Legal Guardian and the
                    availability of resources at the facility where they are being detained.
                    Alternative means of communication shall be explored and implemented
                    whenever the parent, Legal Guardian, or child is unable to communicate
                    effectively by verbal interaction alone. Facilities will endeavor to make such
                    telephone or video contact available for a minimum of 20 minutes for each
                    communication, subject to facility-wide protocols impacting all detainees.

      L. Nothing in this Section shall prohibit ICE from exercising its discretion to make safety-
         based housing decisions concerning families in its custody.

   VI. Notice and Reporting

      A. Notice to Ms. L. Settlement Class Members

         1. NOTICE UPON PRELIMINARY APPROVAL: The Preliminary Class Notice is
            attached hereto in English as Exhibit A to this Settlement Agreement. Once the
            Preliminary Class Notice is approved by the Court, the Parties will translate it into
            Spanish. Within 30 days of preliminary approval of this Settlement, the Parties will
            distribute the Preliminary Class Notice to Ms. L. Settlement Class members as follows:

             a. Online/Electronic Notice
                i. Defendants shall post a copy of the Preliminary Class Notice in English and
                   Spanish in a reasonably accessible location on the websites of HHS and EOIR.
               ii. Defendants shall post a copy of the Preliminary Class Notice on the
                   Together.gov/Juntos.gov web site in English and Spanish



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            iii.   Class Counsel shall post a copy of the Preliminary Class Notice in English and
                   Spanish in a reasonably accessible location on the websites of the National
                   ACLU.

           b. Nothing in this paragraph or this Settlement Agreement shall prevent Class Counsel
              from further disseminating the Preliminary Class Notice to, inter alia, other non-
              profit organizations, legal services providers, or advocates working with separated
              families. Additionally, nothing in this paragraph or this Settlement Agreement shall
              prevent Class Counsel from issuing any press release regarding this Settlement
              Agreement or otherwise obtaining press attention for the Settlement Agreement.

           c. Receipt of a Preliminary Class Notice is not a determination that an individual is a
              Ms. L. Settlement Class Member.

        2. NOTICE UPON FINAL APPROVAL: The Parties will meet and confer within seven
           days of Final Approval to update the language of the Preliminary Class Notice as
           appropriate (in English and Spanish), in order to reflect the final settlement agreement
           (the Final Class Notice). Within seven days after the Final Class Notice is agreed upon
           by the Parties, the Parties shall provide the Final Class Notice to the Ms. L. Settlement
           Class members by the following means:

           a. Within 30 days posting the Final Class Notice (in English and Spanish), in or at the
              same websites as set forth above;

           b. The Parties agree to negotiate in good faith to amend the Class Notices and these
              agreed-upon notice procedures if required to obtain final Court approval of the
              Settlement.

           c. Defendants will work with Class Counsel to ensure that reasonable efforts are taken
              to contact all Ms. L. Settlement Class members and provide them with the Final
              Class Notice to the extent necessary to ensure that they are provided all benefits
              owed to them under the Settlement. Reasonable efforts to contact Ms. L. Settlement
              Class members include:

              i.   Defendants will identify parents and Legal Guardians and their separated
                   child(ren) who may meet the definition of a Ms. L. Settlement Class member.
                   Defendants will share this information with Class Counsel, under the protective
                   order, and provide notice as described in this settlement agreement to those
                   individuals.

             ii.   Defendants will provide available e-mail, mailing, and phone contact
                   information under the protective order for all those who have registered with
                   together.gov/juntos.gov, and the same available information for any attorneys
                   or preparers who are listed on a together.gov/juntos.gov registration.




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            iii.   Defendants      will    maintain    the  existing    registration    website
                   (together.gov/juntos.gov) until the Termination Date, but potential Ms. L.
                   Settlement Class members must register on together.gov or juntos.gov prior to
                   the Final Registration Date.

            iv.    Defendants will fund a third-party managed outreach campaign until the Final
                   Registration Date, to contact Ms. L. Settlement Class members and potential
                   Ms. L. Settlement Class members both in the United States and abroad,
                   including outreach to Ms. L. Settlement Class members who speak indigenous
                   languages, and to explain reunification support, social services and benefits,
                   and how to register on together.gov/juntos.gov. Defendants will also fund a
                   helpdesk to field inquiries from Ms. L. Settlement Class members and potential
                   Ms. L. Settlement Class members until the Termination Date.

        3. Defendants will provide updates every 60 days identifying any new Ms. L. Settlement
           Class members, along with contact information from government records, which
           includes contact information for any attorneys for the Ms. L. Settlement Class members.

        4. On a quarterly basis from the Effective Date until the Final Registration Date, Class
           Counsel will provide to Defendants a list of identified Ms. L. Settlement Class members
           whom Class Counsel have not been able to contact. No later than 60 days after such
           list is provided, Defendants will search relevant HHS, DHS, and DOJ databases that
           may contain new or updated address or contact information or attorney contact
           information for those Ms. L. Settlement Class members and any sponsors of Ms. L.
           Settlement Class members, and will share such information with Class Counsel for
           those Ms. L. Settlement Class members identified for that quarter, except as prohibited
           by law or any applicable privilege.

        5. Until the Final Registration Date, Defendants will provide quarterly reports to Class
           Counsel of their contact efforts. Class Counsel will provide quarterly reports to
           Defendants detailing progress made in contact efforts, estimates on the remaining
           efforts to contact Ms. L. Settlement Class members, challenges experienced in their
           contact efforts, and recommendations to improve contact efforts.

     B. Reporting Provisions

        1. Defendants will provide reports, subject to an appropriate protective order, to Class
           Counsel to allow Class Counsel to track progress and identify any problems or delays
           in providing benefits of this settlement to Ms. L. Settlement Class members and their
           Qualifying Additional Family Members. The Parties may modify the categories of
           information Defendants provide by mutual agreement, in writing, and may submit any
           disputes for resolution by the Court. The Defendants’ reports shall include, at a
           minimum, the following information:




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              a. Parole Reporting (Including Parole in Place)

                 i.   Every 60 days, the government will provide a report that provides updates on
                      progress toward obtaining parole for Ms. L. Settlement Class members and
                      Qualifying Additional Family Members as follows:

                      (a) identifying Ms. L. Settlement Class members who have submitted
                          applications for parole from within the United States (or “parole in
                          place”), and, separately, those who have submitted applications for parole
                          from outside the United States, whether the Ms. L. Settlement Class
                          member has received or been denied parole, dates they applied for and
                          received parole or were denied; and
                      (b) providing aggregate numbers of Qualifying Additional Family Members
                          who have submitted applications for parole in place or parole from outside
                          the United States, and how many have received parole or have been
                          denied.

                ii.   Reporting shall also make clear in which cases the DHS contractor is assisting
                      the Ms. L. Settlement Class members and their Qualifying Additional Family
                      Members with parole applications.

               iii.   Any further data points that have been exchanged to date – as of the Effective
                      Date – until the Termination Date.

              b. Humanitarian Services Reporting

                 i.   Every 90 days, Defendants will provide a report that includes the aggregate
                      numbers of Ms. L. Settlement Class members who are receiving behavioral
                      health services.

                ii.   Every 90 days, Defendants will provide a report that includes the aggregate
                      numbers of Ms. L. Settlement Class members who are receiving housing
                      services.

              c. Ongoing Separations
          Defendants shall provide monthly reports to Class Counsel concerning ongoing separations
   for one year after the Effective Date. Defendants shall provide quarterly reports to Class Counsel
   concerning ongoing separations for two additional years. The government will report the
   information in the same manner that it has been reported throughout the litigation.
      C. Except as otherwise specified herein, all reporting requirements will terminate on the
         Termination Date.




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   VII.   Dispute Resolution

       A. The terms of the Settlement Agreement shall be incorporated into the Order of the Court
   approving the Settlement Agreement. The Order shall constitute the final judgement of the Court
   with regard to the Action. The Order shall include a statement that the Order of the Court and all
   obligations of the Parties under the Settlement Agreement will terminate on the Termination Date
   except that:

          1. Defendants’ obligations under Section V (Future Separations) will terminate on the
             Termination Date – Future Separations; and

          2.   Defendants will continue to provide Behavioral Health Services as described in
               Section IV.B.2.a. above for one year following the Termination Date.

       B. From the Effective Date until the Termination Date, the Court will retain jurisdiction over
   the Action only for the purpose of enforcing the terms of the Settlement Agreement, except that
   the Court shall retain jurisdiction over Section V (Future Separations) until the “Termination Date
   – Future Separations,” and shall retain jurisdiction to resolve disputes regarding the provision of
   Mental Health Services as described in Section IV.B.2.a. above for one year following the
   Termination Date; and shall retain jurisdiction to resolve disputes concerning any applications for
   relief filed pursuant to this Settlement Agreement that remain pending as of the Termination Date.

          C.      The Parties agree that they will apply the following dispute resolution mechanisms
   before seeking enforcement from the Court:

          1. Should counsel for either party believe in good faith that the other party has failed to
      implement or comply with a specific term of this Settlement Agreement, counsel shall, within
      7 days of learning of the alleged noncompliance, notify counsel for the opposing side, in
      writing, of the specific grounds upon which non-compliance is alleged. Disagreement with a
      sole individual discretionary decision or final adjudicative determination provided for in the
      Settlement Agreement is not a valid basis for alleging non-compliance.

          2. Any allegations of violations of this Settlement Agreement must be substantiated with
      specific detailed information about the violations sufficient to enable the responding party to
      investigate and respond.

          3. The responding party shall respond in writing within a reasonable period, but no later
      than thirty (30) calendar days following the receipt of notice of the alleged failure to comply,
      and provide the responding party’s position and any action it has taken or intends to take to
      address the alleged non-compliance. The Parties shall negotiate in good faith in an effort to
      resolve any remaining disputes. The Parties agree to make good faith attempts to resolve the
      issues informally, including a good faith attempt to agree on a reasonable date by which to cure
      instances of non-compliance.

          4. If the Parties have exhausted the process set out in the preceding paragraphs and the
      complaining Party believes that the alleged instances of non-compliance have not been
      remedied, the Parties may (1) jointly refer any unresolved dispute to a mediator agreed upon
      by the Parties; or, alternatively, (2) seek relief before the Court in the Ms. L. case.
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          5. Any request or communication to a mediator or potential mediator to begin the
      mediation process must be a joint request or communication from both Parties. The Parties
      agree that the mediation process described in this Section shall be conducted confidentially
      and that no public disclosure shall be made regarding the mediation process at any time before,
      during, or after the mediation process, except that the final result of the mediation may be
      disclosed. Plaintiffs retain the right to share information obtained via the mediation process—
      subject to the Protective Order in this case—with outside stakeholders or organizations that
      brought the dispute to Plaintiffs’ attention, or any other stakeholders or organizations with
      relevant information or expertise Plaintiffs wish to consult with regarding issues raised in the
      mediation process. Any documents or information disclosed by either party during the
      mediation process shall not be admissible in any judicial proceeding. All statements or
      conclusions of the mediator shall not be admissible in any subsequent judicial proceeding.

          6. If the Parties do not reach resolution under the procedures of Paragraphs 1-6, either
      party may file a motion requesting that the Court resolve the dispute.

          7. If Plaintiff has a good faith belief that immediate, irreparable harm to a Ms. L.
      Settlement Class member who is eligible for benefits under this Agreement is imminent and
      cannot be resolved within the time frames specified in this Section, Plaintiffs may make an
      immediate application for relief to the Court in the Ms. L. case, after providing notice of such
      harm to Defendants’ Counsel.

           D.     The Parties agree that any action or proceeding to enforce the terms of this
   Agreement shall be brought exclusively to the Court in the Ms. L. case. The Court shall have the
   power to award such relief and issue such judgments as the Court deems necessary for enforcement
   of the Settlement Agreement.

          E.      The Parties will endeavor to avoid using the dispute resolution process set forth in
   this Section to address allegations of temporary or de minimis breaches of the Settlement
   Agreement. This paragraph does not prevent Plaintiffs from raising individual and case-specific
   instances of violations of the Settlement Agreement for resolution.

   VIII. Fees and Expenses

           Defendants agree that they will pay reasonable fees and other expenses incurred by Class
   Counsel in the litigation of this Action, in accordance with the Equal Access to Justice Act, 28
   U.S.C. § 2412(d). Defendants reserve their right to raise defenses related to the reasonableness of
   Class Counsel’s request for fees and expenses, but otherwise waive their available defenses to a
   claim brought by Class Counsel under 28 U.S.C. § 2412(d) for the litigation of this Action through
   the Effective Date of the Settlement Agreement. No later than 60 days following the Effective
   Date Plaintiffs will serve a fee demand on Defendants, and the Parties will then enter into
   negotiations to determine the amount of reasonable fees and expenses to be paid by Defendants.
   If the Parties cannot reach agreement on the amount of reasonable fees and expenses to be paid,
   then they will submit the issue to the Court in the Ms. L. case for binding resolution. This Section
   does not affect or waive any party’s rights or defenses concerning any requests for fees or expenses
   incurred more than 60 days after the Effective Date related to enforcement of this Settlement
   Agreement.

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   IX. Additional Provisions

           A. By entering into this Settlement Agreement, Plaintiffs and all Ms. L. Settlement Class
   members waive and release all Defendants in their individual and official capacities, the United
   States, and past, present, or future department or component heads, inferior officers, employees,
   agents, representatives, or contractors from all Released Claims. The Released Claims are all
   claims, demands, rights, liabilities and causes of action for declaratory or injunctive relief, known
   or unknown, arising from or related to the alleged separation of any Ms. L. Settlement Class
   member from his or her parent, Legal Guardian, or child, where such claims existed prior to the
   Effective Date of this Settlement Agreement and were or could have been alleged in the Action
   based on the same common nucleus of operative facts alleged by Plaintiffs in their pleadings and
   the arguments made in the Action. The Released Claims under this Settlement Agreement do not
   include claims for damages.

           B. This Settlement Agreement and its exhibits constitute the entire agreement among the
   Parties hereto concerning the settlement of the Action, and no representations, warranties, or
   inducements have been made by any party hereto other than those contained and memorialized in
   such documents.

           C. Other than as set forth herein, this Settlement Agreement shall not be construed to
   waive, reduce, or otherwise diminish the authority of the Defendants to enforce the laws of the
   United States against Ms. L. Settlement Class members, consistent with the Constitution and laws
   of the United States, and applicable regulations.

           D. This Settlement Agreement shall not be offered or received against the Defendants or
   the United States as evidence of, or construed as or deemed to be evidence of, any presumption,
   concession, or admission by any of the Defendants or the United States of the truth of any fact
   alleged by the Plaintiffs or the validity of any claim that had been or could have been asserted in
   the Action or in any litigation, or the deficiency of any defense that has been or could have been
   asserted in the Action, or of any liability, negligence, fault, or wrongdoing of the Defendants or
   the United States or its employees, officers, or agents; or any admission by the Defendants or the
   United States or its employees, officers, or agents of any violations of, or failure to comply with,
   the Constitution, laws or regulations.

           E. The Settlement Agreement shall not be offered or received against the Defendants or
   the United States as evidence of a presumption, concession, or admission of any liability,
   negligence, fault, or wrongdoing, nor shall it create any substantive rights or causes of action
   against Defendants or the United States, in any other civil, criminal, or administrative action or
   proceeding, other than such proceedings as may be necessary to enforce the provisions of this
   Settlement Agreement.

           F. This Settlement Agreement may not be modified or amended, nor may any of its
   provisions be waived, except by a writing signed by all Parties hereto or their successors-in-
   interest.




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          G. All deadlines in this Settlement Agreement will be calculated in accordance with the
   guidelines set forth in Federal Rule of Civil Procedure 6(a) unless otherwise provided in the
   Settlement Agreement.

          H. This Settlement Agreement may be executed in one or more counterparts. All executed
   counterparts and each of them shall be deemed to be one and the same instrument provided that
   counsel for the Parties to this Settlement Agreement shall exchange among themselves original
   signed counterparts.

          I. This Settlement Agreement shall be binding upon, and inure to the benefit of, the
   successors and assigns of the Parties hereto.

           J. The waiver by one party of any breach of this Settlement Agreement by any other party
   shall not be deemed a waiver of any other prior or subsequent breach of this Settlement Agreement.

           K. All counsel and any other person executing this Settlement Agreement and any of the
   exhibits hereto, or any related settlement documents, warrant and represent that they have the full
   authority to do so and that they have the authority to take appropriate action required or permitted
   to be taken under the Settlement Agreement to effectuate its terms.

           L. Class Counsel and Defendants’ Counsel agree to cooperate fully with one another in
   seeking Court approval of this Settlement Agreement and to promptly agree upon and execute all
   such other documentation as may be reasonably required to obtain final approval by the Court of
   the Settlement Agreement.




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   DATED: October 13, 2023                        Respectfully submitted,
                   Digitally signed by Lee
    Lee            Gelernt /DG

    Gelernt /DG Date:     2023.10.16
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